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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

ISAAC W. SANDERS,
CIVIL COMPLAINT
Plaintiff, NO. 3:18-CV-1423
V. JURY TRIAL DEMANDED
PENNSYLVANIA’S STATE SYSTEM
OF HIGHER EDUCATION and EAST THE HONORABLE
STROUDSBURG UNIVERSITY; A. RICHARD CAPUTO
Defendants.

 

SECOND AMENDED COMPLAINT

NOW COMES, the Plaintiff, Isaac W. Sanders, by and through
counsel, Harry T. Coleman, Esquire and hereby complains of the

above-referenced Defendants and submits the following:

INTRODUCTION

This is a civil action for damages under 42 U.C. § 1983 and 42 U.C. §
1988 from a travesty of administrative and public lynching of the Plaintiff in
his capacity as the Development Director of East Stroudsburg University
(“ESU” or “University”) and thereafter. Dr. Isaac W. Sanders was
victimized, and has continually been victimized, by unfounded allegations of

sexual harassment and theft soawned from several anonymous letters sent

 
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to University officials and published in a newspaper of general circulation in
and around East Stroudsburg, Pennsylvania. The conduct of the
Defendants has been continuous, through separate and discrete incidents,
leading up to the recent pronouncement by the Pennsylvania Attorney
General that he would not pursue a bill of costs against the unsuccessful
student plaintiffs (“victims”) thereby conveying, once again, the guilt and
supposed liability of Isaac Sanders in regard to the allegations of student
sexual assault and theft. The rumors and innuendo, unfounded as they
have been proven to be, resulted in Dr. Sanders being put on a leave of
absence and termination from the University and continued stigmatization by
repeated and separate events. Dr. Sanders has been tried and convicted in
the court of public opinion by the conduct of the Defendants yet vindicated in
this Court. Plaintiff was castigated publicly and in the press by former
Pennsylvania Governor Edward Rendell who served as a member of the
Board of Governors of the Pennsylvania State System of Higher Education
(“PASSHE”). — Dr. Sanders vigorously defended and prevailed in a civil
rights suit filed in the United States District Court for the Middle District of
Pennsylvania by six (6) former male students who were caught up in the
frenzy of the rumor and innuendo that permeated the East Stroudsburg

University community. The United States Court of Appeals and the United

 
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States Supreme Court upheld the jury’s verdict.

Isaac Sanders good name, reputation, honor and integrity has been
destroyed by the stigmatizing conduct the government defendants have
done to him from his termination at East Stroudsburg University under a
cloud of criminal suspicion and with each subsequent violation by failing, to
date, to provide him a name-clearing hearing, forcing him to expend his own
personal funds for a defense, failing to provide him a defense in the United
States District Court for the Middle District of Pennsylvania litigation, a
defense in the Appeal to the United States Court of Appeals, and to the
United States Supreme Court; potentially exposing him to an adverse
financial judgment in the civil litigation and by continuing to defame and
impugn his reputation after he had been cleared of any improper conduct by
the one student who came forward and did not hide behind anonymity and
the favorable verdict he received from a jury of his peers who found the
allegations of the student complainants in a federal courtroom to be
unfounded.

As a result of the Defendants’ actions, Plaintiff has suffered deprivation
of rights guaranteed to him under the Constitution of the United States. Dr.
Sanders has suffered economic and emotional harm; he has suffered

irreparable harm to his professional reputation and he has incurred

 
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significant legal fees in defending himself against claims that the Defendants

knew were baseless.

PARTIES

1. Plaintiff Isaac W. Sanders is a citizen and resident of Texas.

2. Defendant, East Stroudsburg University is an institute of higher
education under the control and operation of the Commonwealth of
Pennsylvania by virtue of ESU’s membership in PASSHE. East
Stroudsburg University has a principle address of 200 Prospect Street, East
Stroudsburg, Monroe County, Pennsylvania 183071.

3. On information and belief, ESU and PASSHE are recipients of
funds from the United States government.

4. The Defendant Pennsylvania’s State System of Higher
Education has a principal address of 2986 N. 2™ Street, Harrisburg,
Pennsylvania 17110. |

5. PASSHE was established by the legislature of the
Commonwealth of Pennsylvania on July 1, 1983 and operates fourteen state
universities located within the Commonwealth, including East Stroudsburg
University.

6. PASSHE serves over one hundred thousand students and

employees more than twelve thousand faculty and staff.

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7. PASSHE is provided oversight by a 20-member Board of
Governors that is responsible for oversight of the State System. The Board
establishes broad educational, fiscal, and personnel policies. The Board,
among other tasks, appoints the chancellor and each university president,
approves new academic programs, sets tuition, and coordinates and
approves the annual State System operating budget.

8. The Governor of Pennsylvania is a member of the PASSHE

Board of Governors.
JURISDICTION AND VENUE

9. This action arises under the Fourth and Fourteenth Amendments
to the Constitution of the United States; 42 U.S.C. § 1983 and 42 U.S.C. §
1988.

10. The Court has jurisdiction over Plaintiff's constitutional and
federal law claims pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343(a).

11. Venue is proper in the United States District Court for the Middle
District of Pennsylvania pursuant to 28 U.S.C. § 1391 due to a substantial
part of the events giving rise to these claims occurred in the Middle District of

Pennsylvania.

FACTUAL ALLEGATIONS

 
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A. Isaac W. Sanders Tenure at East Stroudsburg
University

1. Hiring of Isaac W. Sanders

21. East Stroudsburg University is a public university of higher
education and is a member of PASSHE with an address located at 200
Prospect Street, East Stroudsburg, Pennsylvania.

22. East Stroudsburg University and PASSHE, on information and
belief, are recipients of funds from the federal government.

23. At all relevant times herein, Robert J. Dillman was President of
East Stroudsburg University duly appointed by PASSHE.

24. Atall relevant times hereto, Kenneth Borland was the Provost at
East Stroudsburg University and also served as Interim President during
2008.

25. At all relevant times, Victoria L. Sanders, no relation to the
Plaintiff, was the Associate Vice President for Special Projects, Diversity,
and Equity at East Stroudsburg University and Dr. Victoria L. Sanders
reported directly to the University President.

26. Isaac Sanders received a B.S. degree from Tuskegee Institute in
1971 and subsequently received a Master’s Degree from Cornell University
and his Doctorate degree from Kansas State University.

2/7. With regard to East Stroudsburg University, Dr. Isaac Sanders

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was hired in 2000 and employed as a Vice President for Institutional
Advancement and also served as Executive Director for East Stroudsburg
University Foundation (“Foundation”).

28. In 2007, Plaintiff Isaac Sanders (“Isaac Sanders”) was the Vice
President for Advancement at ESU. He was the head of the Advancement
Office and also the Chief Executive Officer of the East Stroudsburg
University Foundation.

29. I|saac Sanders reported to two people: the Chair of the University
Foundation Executive Committee and President Dillman.

30. The relationship between the University and the Foundation is
defined in a Memorandum of Understanding.

31. The Foundation was put in place to hold funds for East
Stroudsburg University.

32. Dr. Sanders was lauded in 2006 in the Chronicle of Higher
Education where he was interviewed for an article that praised the
fundraising efforts of the University.

33. In September 2007, Dr. Isaac Sanders was lauded by President
Dillman for his fundraising efforts in regard to the East Stroudsburg
University Science and Technology Building.

34. On information and belief, certain individuals were covetous of

 
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the position held by Isaac Sanders and upset with the recognition he was
receiving.

35. As discussed below, also in September 2007, the first
anonymous letter is forwarded to various officials at East Stroudsburg
University concerning a fundraiser and contemporary of Isaac Sanders. This
letter coincidentally followed the praise directed at Isaac Sanders by Dr.
Dillman on the Science and Technology Building fundraising.

36. Oninformation and belief, it is asserted that under the leadership
of Dr. Isaac Sanders, East Stroudsburg University raised in excess of Fifteen
Million Dollars.

37. Isaac Sanders established himself as an accomplished
fundraiser which elevated the stature of ESU prior to his termination.

38. On information and the belief of Plaintiff Dr. Isaac Sanders,
individuals within the University community at East Stroudsburg, were
unsettled by the fact that the highly successful University fundraising at East
Stroudsburg was headed by a person of color.

39. For the employment period of July 1, 2007 to June 30, 2008,
the management performance appraisal of Isaac W. Sanders by his
supervisor, University President Robert J. Dillman was rated at or above

expectations.

 
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40. University President Dillman found as of July 8, 2008, focusing
on the period of July 1, 2007 through June 30, 2008, the following as it
concerns the employment of Dr. Isaac W. Sanders:

The success of the advancement office in achieving
and exceeding its financial goals has been due to the
leadership of Isaac Sanders. The work of the
alumni association continues to grow but needs
greater expansion and involvement of alumni
throughout the region and nation. Isaac has worked
to improve diversity in his office and around the
campus. He has been a very important team player
in the senior staff and has continued to be active in
advancement national organizations. One caveat is
the need for stable staffing and new hires that bring
expertise to the organization.

2. Student Complaint Against Dr. Sanders

41. In March 1998, a Notice of Non-Discrimination Policy issued
from the Office of the President at East Stroudsburg University.

42. On August 24, 2007, Victoria Sanders and others met with the
student complainant and his attorney at a private home where Dr. Victoria
Sanders first learned of the student allegations against Isaac Sanders.
Coincidentally, the attorney would later represent all Plaintiffs in the civil
rights claim in this court and a self-appointed vocal critic of Plaintiff Sanders.

43. Dr. Victoria Sanders correctly referred the student to the

University’s Office of Diversity to file a complaint.

44. Immediately after the meeting, Dr. Victoria Sanders called

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PASSHE counsel, Andrew C. Lehman, Esquire and told him about student’s
allegations against lsaac Sanders.

45. On Monday, August 27, 2007, the student filed a complaint about
Isaac Sanders with the Office of Diversity and Equal Opportunity.

46. The formal complaint against Dr. Sanders alleged sexual
harassment.

3. Between October 1 and November 20, 2007
Anonymous Letters Regarding Isaac Sanders

Sent to University

47. Prior to the student's complaint to East Stroudsburg University
on August 24, 2007 regarding Isaac Sanders, discussed above, it was the
University’s practice not to accept anonymous letters as a basis for an
investigation into discrimination or harassment. If the complainant did not
come forward, the Diversity Director did not include any anonymous letters in
the internal investigation reports.

48. On October 1, 2007, October 10, 2007, and November 6, 2007,
East Stroudsburg University received three anonymous letters addressed to
President Dillman and others. On November 15, 2007 and November 20,
2007 the University received copies of two more anonymous letters, both
dated November 1, 2007.

49. One of the anonymous letters had been addressed to ESU’s

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Council of Trustees and the other had been addressed to a former University
Foundation Board member. All the anonymous letters were received after
the lone student made his initial allegations to the Diversity Director in
August of 2007.

50. The first anonymous letter dated September 28, 2007 makes no
reference to any alleged sexual improprieties involving Isaac Sanders.
However, Dr. Sanders’ oversight of the University Foundation and
Advancement Office is impugned.

51. The remaining anonymous letters that refer to Isaac Sanders
make various accusations but they lack details of Isaac Sanders’ alleged
misconduct, including dates, times, names of witnesses or any victims

(except that the complaining student is mentioned once by his first name).

92. These letters do not state the source of the writer’s information
or whether that source was reliable, or otherwise indicate how the writer
became aware of the information provided. |

53. The anonymous letters and all allegations against Dr. Isaac
Sanders were widely published in a newspaper of general circulation in both
the University Community and the geographic region of the East
Stroudsburg area.

54. The letters demanded the termination of Isaac Sanders.

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55. The letters threatened University President Dillman if he did not
take the termination action demanded in the letters.

56. Although one of the letters mentions the complaining student by
name, none of the anonymous letters received by the University provided
any specific details or information about allegations of the complaining
student that he was sexually harassed by Isaac Sanders.

57. The letters provided no information which could either confirm or
refute the student’s allegations. It is objectively obvious that the author of
the anonymous letters was aware of the investigation into the student’s
complaint against Dr. Isaac Sanders and that these letters were merely sent
to supplement the erroneous charges leveled against Dr. Sanders and force
his ouster from the University.

4. University Policy Prohibiting Discrimination and
Harassment

58. The University maintained a policy enacted on November 3,
1997 which prohibited discrimination and harassment.
59. The policy provided that:
No student or employee of the University, or
contractor/vendor conducting business with the
University, may engage in illegally harassing conduct

which creates a hostile learning or work environment
for other students or employees of the University.

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60. The policy defines harassment as including unwelcome conduct
based on gender; clearly offensive conduct; verbal, visual, or physical
behavior that is targeted at an individual adversely affecting the learning
environment: and criminal harassment.

61. The policy provided that, along with wide distribution of notice of
the policy, workshops would be periodically conducted for employees of the
University regarding discrimination, harassment, including sexual
harassment, diversity, and consensual relationships.

62. Inthe fall of 2007, all University employees were required to take
a course in sexual harassment.

63. The policy also provided a procedure for the submitting and
investigating of discrimination and harassment.

64. The Officer of Diversity and Equal Opportunity was tasked with
either assisting in an amicable resolution of the claim by mutual agreement
or commencing an investigation. The Director would act as a neutral
investigator and not as an advocate for any of the parties.

65. According to the Non-Discrimination Policy, within ten (10)
working days of the conclusion of the investigation, the Director shall make
available to the parties a written report. The findings of the investigator

must indicate whether it was more likely than not a violation of the Policy

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occurred.

66. The parties to a dispute are afforded ten (10) working days to
provide to the Director their written responses to the investigation report.

67. At the end of the ten (10) day period, the Director shall file the
report and any written responses received from the parties with the
appropriate vice president.

68. According to the Policy at East Stroudsburg University, once the
appropriate Vice President or the President has reviewed the report of the
Director along with any response thereto filed by any of the parties, a
determination shall be made whether to close the complaint, attempt
informal conciliation or initiate disciplinary proceedings.

69. Dr. Sanders responded to the sole student complaint and
specifically denied the allegations of the student.

70. The Director of Diversity shared his written report with the
student and Dr. Sanders.

71. The student and Dr. Sanders, consistent with University
procedures, were each given the opportunity to provide a response to the
Internal Investigation Report of the Director.

72. The Director of Diversity for East Stroudsburg University

submitted his final report to President Dillman on December 10, 2007.

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73. On January 7, 2008, the sole complaining student was
advised through correspondence from President Robert J. Dillman of
East Stroudsburg University that the investigation conducted by the
Director of Diversity and Campus Mediation had been completed.

74. The University President concluded, based upon the
thorough investigation conducted, that there is insufficient evidence
to support the allegation and the University considered the matter
closed.

75. No student, present or former, other than the student who filed a
complaint in August 2007, ever filed a complaint against Dr. Sanders with the
University’s Office of Diversity, the Pennsylvania Human Relations
Commission, the Equal Opportunity Employment Commission or with any
state or federal law enforcement agency.

76. Dr. Isaac Sanders had no way to defend against hateful gossip,
innuendo and rumor accusing him of student sexual assault and theft given
the imprimatur by the Defendants.

7/7. At no time did any Defendant publically defend Dr. Sanders
against the hateful gossip, innuendo and rumor accusing him of student
sexual assault and theft.

78. To the contrary, the actions of the Defendants has consistently

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and continually conveyed that Dr. Sanders was responsible for the student
sexual assaults all while depriving him of his constitutionally protected rights.

5. Internal Employee Complaint of Financial
Mismanagement of Development Office

79. The Advancement Office raised funds for ESU. The office also
worked with university alumni to cultivate their relationship with ESU.

80. The East Stroudsburg University Foundation (“ESU Foundation’)
is a private non-profit organization whose purpose is securing private gifts
and grants to benefit ESU.

81. On January 14, 2008, one week following the close of the
investigation spawned by the sole student complaint against Dr.
Sanders, a meeting was conducted between Provost Kenneth Borland and
Carolyn Bolt, a University employee within the Development Office headed
by Dr. lsaac Sanders.

82. The meeting on January 14, 2008 centered solely upon Mrs.
Bolt's allegations against Dr. Sanders and her perception of - his
mismanagement of the Development Office.

83. In light of the fact that one of the anonymous letters made
allegations regarding a purported arrest of Isaac Sanders, President Dillman
asked the University’s Chief of Police, Robin Olson, to review campus police

records and also to check with local law enforcement, to verify the

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allegations as to Isaac Sanders’ alleged arrest.

84. Chief Olson investigated this issue and determined the
allegation of Isaac Sanders’ arrest to be unfounded.

85. After the University received these anonymous letters, the letters
were turned over to the PASSHE’s counsel who provided them to the
Federal Bureau of Investigation (“FBI”) on December 5, 2007 and gave the
FBI permission to contact President Dillman and Dr. Victoria Sanders
directly. |

86. The actions of the Defendants here sent a loud message
that those in the University community, including the Defendants, not
only felt Dr. Sanders was responsible for the anonymous allegations
but felt his alleged conduct constituted criminal conduct.

6. The Second Investigation of Dr. Isaac Sanders
with No Complainant

87. Although the University had a stated policy that it would not
consider anonymous letters and that Dr. Dillman had disproven the
allegation concerning an alleged arrest of Isaac Sanders, PASSHE’s
counsel elevated these anonymous documents by forwarding these
worthless anonymous letters to the FBI, the chief federal law enforcement
agency in the United States.

88. The anonymous letters above were forwarded in the fall of 2007

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during the first internal investigation conducted by the University. These
letters were provided to President Dillman, Trustees of East Stroudsburg
University, the PASSHE Chancellor, and news media in the East
Stroudsburg area. The letters alleged sexual predatory behavior by Isaac
Sanders and financial misdeeds.

89. A Forensic Audit was subsequently conducted by the East
Stroudsburg University Foundation which reported no financial
mismanagement or theft

90. The audit of the ESU Foundation for 2007-2008 was performed
by the Allentown, Pennsylvania based accounting firm of Concannon, Miller
& Co. P.C.

91. The audit reports of the ESU Foundation were found to be
all clear and the allegations against Dr. Sanders of financial misdealing
were proved wrong. The scope of the audit was more than normal based
upon the anonymous allegation circulating as to Dr. Isaac Sanders.

92. On information and belief, the results of the forensic audit were
never published by the Defendants within the university community or in the
geographical community surrounding ESU thus allowing the allegations of
theft and mismanagement to permeate as to Plaintiff Sanders.

7. In Late November, 2007, Isaac Sanders Brings
Unrelated Advancement Office Personnel

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Problems to Dillman’s Attention

93. Onthe Sunday after Thanksgiving, 2007, within weeks of having
received the anonymous letters, President Dillman received a telephone call
from Isaac Sanders at home.

94. Isaac Sanders informed Dillman that he had a conversation with
an ESU employee and that she had reported to him that employees within
the Development Office, Carolyn Bolt (“Bolt”) and Robert Kelley ("Kelley"),
were undercutting him in the running of the Advancement Office and seeking
his ouster.

95. The employee said that Bolt and Kelley were doing things behind
Isaac Sanders’ back.

96. Importantly, Bolt and Kelley worked in the Advancement Office
under Isaac Sanders.

97. On December 6, 2007, Victoria Sanders traveled to New Jersey
with Isaac Sanders at his request to attend a lunch meeting with the
afore-referenced ESU employee and discussed the information that the
employee had provided to Isaac Sanders.

98. In that meeting, the ESU employee informed Victoria Sanders
that: Bolt had made several general accusations about Isaac Sanders

concerning improper financial conduct and confrontations with Advancement

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Office personnel; Bolt was having Sanders “investigated” and that Bolt felt
that she could get Isaac Sanders’ job if he was fired and that Bolt had been
working with the East Stroudsburg University Council of Trustees and the
University Foundation Board.

99. Between December 6, 2007 — the date that Victoria Sanders met
with Isaac Sanders and the employee — and December 11, 2007, the date
that Dillman, Victoria Sanders, and Carolyn Bolt met to address the
employee’s accusations concerning Bolt; Victoria Sanders shared with
President Dillman what she had learned from the employee.

100. The employee’s information referred to issues in the
Advancement Office and that the Diversity Director was investigating a
complaint made by a student regarding sexual harassment.

101. On December 11, 2007, President Dillman, and Dr. Victoria
Sanders met with Carolyn Bolt. The meeting focused on the accusations
that the employee had made against Bolt and the management of the
Advancement Office. However, at one point during the meeting, Defendant
President Dillman asked Bolt if she knew anything about anonymous letters.

102. At no point in this meeting did Carolyn Bolt discuss improper
sexual conduct by Isaac Sanders involving any of the student workers in the

Advancement Office or students generally.

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103. Despite the information provided by Bolt, Defendant Dillman and
PASSHE forwarded the anonymous letters to the FBI in December 2007
knowing full well that Carolyn Bolt, the main accuser of Dr. Isaac Sanders,
had no information of any sexual misconduct.

8. President Dillman Determines that there is
Insufficient_ Evidence that the Complaining
Student was Harassed

104. As stated above, on January 7, 2008, Defendant President
Dillman sent his written decision to the student who filed the complaint with
the Diversity Office in August 2007.

105. Presumably, the FBI was investigating the conduct of Isaac
Sanders at this time.

106. Despite clearance by Defendant Dillman in the lone student
complaint, Isaac Sanders was not automatically reinstated to his
position as he should have been since there was no basis or
foundation for any of the allegations leveled against him absent
malicious rumor, innuendo, and gossip.

107. By not returning Dr. Sanders to his position of employment within
the University, a clear and distinct message that Dr. Sanders was guilty and

responsible for the sexual conduct and theft that he was accused of despite

the findings of the investigation and audits. This message was sent

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throughout the University community and geographical area surrounding
ESU.

108. The spectre of guilt has continued hang over Isaac Sanders that
he was somehow responsible for the inappropriate sexual conduct with a
student as well as theft and the failure of Dr. Dillman to return him to his
position gave fuel to this assessment of guilt.

109. The conduct of the Defendants has been continuing since his
2009 termination through 2018 as discussed more fully below.

110. In October 2007, the second anonymous letter was sent to the
University and published in local media. The letter alleged sexual liaisons
between Isaac Sanders and students. The implication by the anonymous
letter was that Isaac Sanders was a sexual predator preying on students at
East Stroudsburg University.

111. It was impossible for Dr. Sanders to combat this malicious smear
campaign undertaken against him and the impact on his reputation was
devastating.

112. The Defendants have done nothing from 2007 to date to clear
the reputation of Dr. Sanders but rather their continuing course of conduct
has only fueled the reputational damage to Dr. Sanders.

9. Second Investigation

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113. In January 2008, members of the staff of Dr. Isaac Sanders
raised accusations concerning alleged harassment, favoritism towards
minorities, unauthorized scholarships, and misappropriation of University
funds. This was solely an internal University matter that should have been
handled within the University.

114. In January 2008, after Defendant Borland assumed his position
as Acting President with Defendant Dr. Dillman on a semester long
sabbatical, Borland had a series of meetings with staff from the
Advancement Office.

115. These meetings involved complaints about management of the
Advancement Office and alleged mistreatment of full time staff.

116. The implication sent out throughout the University community is
that the meetings held by Interim President Borland into these interoffice
management office matters somehow related to the unfounded allegations
of sexual misconduct against Dr. Sanders and financial misdeeds.

117. The Defendants have never corrected this appearance but rather
by their continued course of conduct, up to and including 2018, have
reaffirmed the belief that Dr. Sanders is guilty of sexual misconduct with
students and theft.

118. In January 2008, Defendant Borland, acting in his capacity as

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Acting University President, spoke with the Chair of the Board of Trustees at
the University to discuss rumors circulating in the University community
about Sanders’ alleged sexual misconduct which she and other Trustees
were hearing.

119. On January 14, 2008, Borland met with Carolyn Bolt. In that
meeting, Bolt related her issues with Isaac Sanders’ management style.
Bolt also commented on her perception of the mid-December 2007 meeting
with President Dillman and Victoria Sanders.

120. Carolyn Bolt left the Advancement Office for one year to serve
as assistant to the President but choose to return to the Advancement Office
in 2007 rather than staying in the President's office.

121. Bolt’s desire to return to the Advancement Office headed by
Plaintiff Sanders was odd for someone who had questioned Isaac Sanders’
management style.

122. Bolt also told Defendant Borland that he might want to inquire
with the members of the University Council of Trustees and Foundation
Board to confirm that she had not been in contact with them about Isaac
Sanders during her meeting with Dillman in December, 2007.

123. Bolt had told Dillman in 2007 that she had only been in touch with

members of the Council of Trustees and Foundation Board strictly about

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University business and that she had not been in touch with the members
about her issues with Isaac Sanders.

10. Internal University Complaints by Students
Published in the Local Newspaper

124. On June 8, 2008, the Pocono Record ran a story that there were
additional students who were coming forward and claiming that Isaac
Sanders had sexually harassed or abused them.

125. The newspaper had secured at least one of the anonymous
letters.

126. After discussing the matter with University counsel, and
Thomas Krapsho, the State System’s Vice Chancellor for Human
Resource and Labor Relations, Defendant President Dillman placed
Isaac Sanders on administrative leave solely based on malicious
innuendo rumors and gossip.

127. The decision to place Isaac Sanders on administrative leave was
made jointly between President Dillman and Defendant PASSHE.

128. Also in June 2008 in response to the newspaper article which
was grounded in malicious innuendo, rumors and gossip, Defendant
PASSHE made a determination to hire an outside law firm to conduct an
“investigation” into the anonymous allegations being reported in the Pocono

Record.

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129. Black & Gerngross, a Philadelphia law firm, was hired by
PASSHE and East Stroudsburg University to conduct an “investigation” into
the anonymous allegations that Isaac Sanders engaged in inappropriate
sexual conduct with University students and committed _ financial
improprieties with funds of the East Stroudsburg University Foundation.

130. The “investigation” was nothing more than a pre-determined
exercise to terminate Dr. Isaac Sanders from his position with the University.

131. On information and belief, PASSHE has a practice of terminating
employees within its University system in this improper manner.

132. The “investigation” despite University policy, was based entirely
on malicious innuendo, rumors and gossip contained within an anonymous
letter.

133. On information and belief, the “investigation” was nothing more
than a pre-textual exercise as the investigator merely met with the attorney
for the plaintiffs in the later filed civil rights matter and regurgitated the
opinions and belief of the attorney for the student plaintiffs.

134. No interviews with the complaining students were conducted,
memorialized or cited in the final report following the “investigation”.

135. The so called “investigation” by the Philadelphia based law firm

never resulted in an interview of Dr. Sanders most vocal critic and employee

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in the Development Office, Carolyn Bolt.

136. Ms. Bolt had left University employment amid peculiar and
financially beneficial terms.

137. The continued public perception from the conduct of the
Defendants at the outset and during the “investigation” was that Isaac
Sanders was “guilty” of sexual assault on students and theft.

138. By letter dated July 1, 2008, twenty two days after the newspaper
article premised on anonymous complaints and merely days following the
retention of the outside law firm, Isaac Sanders was placed on administrative
leave effectively immediately.

139. The letter instructed Isaac Sanders that, absent prior approval by
President Dillman or Victoria Sanders, he was not permitted on campus, nor
could he contact any University employee, student, donor or potential donor.

140. The suspension of Isaac Sanders, without one human being
coming forward to make a complaint against him, circulated within the
University community with the assessment of guilt in student sexual assaults
and theft.

141. Despite the fact the so called “investigation” had recently
commenced, the presumption of innocence and his status as a

Commonwealth employee, Sanders suspension sent a loud and clear

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message to all in the University community and geographical community that
he was guilty of the sexual abuse of students and theft like behavior.

142. The import of action by Defendants PASSHE, ESU, and
President Dillman in placing Isaac Sanders on immediate administrative
leave within days of the Pocono Record article was to label him guilty as a
sexual predator who targeted University students.

143. Sanders was in effect declared guilty of the allegations by the
actions of Dillman and Defendant PASSHE.

11.. News Stories on Isaac Sanders Spawn
Additional Complaints

144. During the summer of 2008, after the Pocono Record article and
while Isaac Sanders was on administrative leave, the University was notified
through the attorney representing the original complaining student, that five
former students were going to bring claims against the University.

145. This information was a regurgitation of facts published by the
Pocono Record in June 2008.

146. The five former students generally alleged that they were
students at the University from the Fall of 2004 to the Spring of 2007.

147. It would be alleged, according to their attorney, that on various
occasions, Isaac Sanders engaged in appropriate sexual conduct with them.

148. Dr. Isaac Sanders has always denied these allegations and

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successfully defended same.

149. These anonymous students with unspecified allegations against
Dr. Sanders had never filed a complaint against Dr. Sanders with the
University’s Office of Diversity, the Pennsylvania Human Relations
Commission, the federal Equal Opportunity Employment Commission or
with any state or federal law enforcement agency.

150. Rather, these students and their publicity starved attorney were
caught up in the malicious rumor, gossip and innuendo spewed against Dr.
Sanders and confirmed by the actions of all Defendants.

151. The second investigation conducted by PASSHE and the
University failed to reveal any merit to the allegations leveled against
Dr. Sanders.

152. By not returning Dr. Sanders to his position of employment
within the University, a clear and distinct message was _ sent
throughout the University community and to the geographic region
surrounding the University that Dr. Isaac Sanders was a student
sexual predator and thief for the conduct he was anonymously
accused of despite the findings of the investigation.

153. Isaac Sanders was not automatically reinstated to his position as

he should have been since there was no foundation for any of the allegations

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leveled against him or a person to voice them.

154. Dr. Sanders was deemed guilty by PASSHE and the University
without due process and he was stigmatized by the Defendants’ conduct.

155. Dr. Sanders, to date, has never been provided a name clearing
hearing as mandated by law.

12. Third Investigation

156. In the summer of 2008, following the alleged “investigation”,
‘Counsel for PASSHE concluded that sufficient evidence of sexual
harassment existed despite previous conclusions of the first two
investigations conducted by President Dillman, Provost Borland, and/or their
designees.

157. Outside counsel for PASSHE was retained purportedly to
conduct an “investigation” and though the result was predetermined, counsel
exceeded the scope of his authority by making long predetermined
conclusions. —

158. Although the report of the third investigation was never publically
disclosed under the privilege of PASSHE work product, the findings of the
investigation were well known in the University and geographical
communities and disseminated to the public and press outlets.

159. First and foremost, the Philadelphia based law firm hired by

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PASSHE to conduct this third “investigation” boasted on the firm’s website of
their expertise in conducting investigations into discrimination, fraud, and
sexual misconduct.

160. It had been reported in University community and in the
newspaper of general circulation in East Stroudsburg, Pennsylvania by
PASSHE spokesman Ken Marshall that any “criminal activity” that might
surface in the PASSHE investigation would be referred to the District
Attorney or the Office of the Attorney General thereby implicating Dr.
Sanders in non-specified and uncharged criminal conduct.

161. The import of this press statement was that the investigation
concerned criminal conduct by Dr. Sanders as it related to student
complaints of sexually-inappropriate conduct.

162. It was reported publically that the University terminated Sanders
after the PASSHE investigation as somehow this third investigation
corroborated “claims against him of inappropriate conduct” according to an
internal ESU email acquired by a local news organization through a
Right-to-Know Request.

163. This statement attributable to the PASSHE third investigation,
despite exoneration in earlier investigations, publically made false

statements and found Dr. Isaac Sanders guilty of sexually inappropriate

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conduct with students in the court of public opinion based only in rumor and
gossip.

164. The continued public perception from the conduct of the
Defendants at the outset, during and at the conclusion of the “investigation”
was that Isaac Sanders was “guilty” of sexual assault on students and theft.

165. The PASSHE and University Report of retained counsel and the
conduct of all Defendants, has ruined the well-earned academic reputation
and personal reputation of Dr. Sanders. |

166. Atthe time of the so-called “investigation” by outside counsel, Dr.
Sanders had no violated any provision of law or policy. The outcome of the
“investigation” was predetermined.

167. All Defendants here are state entities or employees of state
entities and their actions here were done under color of state law.

168. As the Defendants were all state entities or employees of state
entities, they were required not to violate the constitutional rights of others
including Isaac Sanders.

169. The so-called investigator who was retained by PASSHE and the
University relative to Isaac Sanders, on information and belief, counseled the
Defendants University, PASSHE and Dillman as it relates to the termination

of Dr. Sanders. This was plainly unjust.

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13. Comments by Pennsylvania Governor Rendell

170. On or about February 26, 2009, despite the presumption of
Innocence afforded Dr. Sanders by the United States Constitution, his
consistent denial of any untoward conduct attributable to him, clearance by
multiple investigations conducted pursuant to University protocols, then
Governor Edward Rendell made public statements that conveyed to
students and the general community that Dr. Sanders had committed the
conduct as alleged and that he was liable for same.

171. In February 2009, then Governor Rendell told over two hundred
students who had gathered on the ground floor of the Science and
Technology Center that “these are serious charges” and “you have a right to
know why this was allowed to go on.”

172. The above quoted statements by the Governor of Pennsylvania,
who served as a Board Member of PASSHE, conveyed to all that Isaac
Sanders had done the horrible sexually assaultive things which he was
accused of. The comments of former Governor Rendell were picked up in
the local print media as well as being published on local news stations.

173. It was reported and widely conveyed that Rendell, a former
Philadelphia prosecutor, described the allegations made against Sanders as

“criminal” acts.

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174. The continued public perception from the conduct of the
Defendants following the public comments of PASSHE Board member
Rendell was that Isaac Sanders was “guilty” of sexual assault on students
and theft.

14. ESU Terminates Isaac Sanders’ Employment

175. President Dillman received the third “investigation report” from
PASSHE’s outside law firm on September 26, 2008.

176. Following receipt of the report, Dillman conducted a conference
with Isaac Sanders on October 3, 2008.

177. The focus of the conference was highly pre-textual and the
stated reasons for his potential termination were designed to mask the true
intent of Dillman and PASSHE to terminate Sanders for the allegations of
sexual conduct swirling around in the University community by gossip and
innuendo.

178. The Conference with Dillman and Isaac Sanders was
orchestrated by PASSHE counsel who took repeated breaks to consult with
Dillman so that the conclusion reached was inevitable.

179. Plaintiff Isaac Sanders’ employment with ESU was suspended
on July 1, 2008.

STIGMA PLUS
October 22, 2008

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Reputational Harm
Investigations convey Sanders is Serial Sexual Predator and
Thief---Termination of Employment

180. Isaac Sanders was terminated on October 22, 2008, to be
effective December 21, 2008.

181. On October 22, 2008, Dillman sent Isaac Sanders a letter stating
that his employment with the University was being terminated.

182. The letter sets forth the reasons for the termination which were
not only inaccurate and pre-textual but masked the true motivation of the
Defendants PASSHE and Dillman to get rid of Sanders at all costs.

183. The articulated inaccurate and pre-textual reasons for the
termination are as follows:

a. “some of the allegations involve your conduct toward ESU
students.”

b. “Other allegations concern financial matters.”

c. The student conduct matters cited by Dr. Dillman and PASSHE
concern sexual advances or conduct by Isaac Sanders despite
the fact that Sanders had been exonerated by Dillman in the
University investigation and subsequently in every investigation
and judicial proceeding conducted.

d. The “financial matters” consisted of a mistaken deposit by a

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University employee into the wrong ESU Foundation bank
account and the payment of a student balance on request by a
University employee. The student balance issue concerned a
former student who could not pay his University balance which
was necessary for his degree and in turn critical to his hiring as a
teacher in a local school district.

e. The contact to a University Trustee centered upon condolences
Dr. Sanders conveyed following the death of the Trustees family
member.

184. The Letter of October 22, 2008 instructed Isaac Sanders to
return all University property and documents by October 22, 2008. It further
stated that per Isaac Sanders’ employment agreement with ESU, the
termination would be effective December 21, 2008.

185. The continued public perception from the conduct of the
Defendants at the time of Sanders’ termination and to date was that Isaac
Sanders was “guilty” of sexual assault on students and theft.

186. The termination letter not only cast Isaac Sanders as a sexual
predator with students but introduces a new assertion that he is a thief as it
related to “financial matters”.

187. The termination “for cause requirement” was emasculated by the

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Dillman and PASSHE and Dr. Isaac Sanders has an entitlement to continued
employment.

188. Dr. Sanders’ loss here constitutes a “grievous loss.”

189. Isaac Sanders has a liberty interest to re-employment based
upon the manner in which PASSHE has handled factually similar situations
with other individuals employed at universities within the Commonwealth of
Pennsylvania.

190. The termination of Dr. Isaac Sanders was flawed in that the
student contact assertion was inaccurate and wrong.

191. The only student who filed a complaint against Isaac Sanders
saw that complaint dismissed.

192. The “other” students were unnamed and not identified but were
merely floating around in malicious rumor, gossip and innuendo. No due
process was afforded to Isaac Sanders.

193. The other reasons articulated by Dillman and PASSHE for the
termination of Dr. Sanders’ employment were not only pre-textual but were
factually incorrect and wrong.

194. The consistent message by the conduct Defendants from the
time of Dr. Sanders separation from employment to present go well beyond

allegations of improper and inadequate job performance, incompetence,

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neglect of duty or malfeasance.
195. To date, the Defendants did nothing to comment, correct or clear
the stigmatizing impact this had on Isaac Sanders.

15. Allegations Against Sanders Reviewed by All
Law Enforcement Agencies

196. On information and belief, it is asserted that law enforcement
agencies such as the Monroe County District Attorney's Office, the
Pennsylvania Attorney General’s Office, the United States Department of
Justice and the Federal Bureau of Investigation have all investigated the
allegations made against Isaac Sanders during and after his termination
from employment and have determined no prosecutorial merit to any
charges.

197. Nocriminal charges have ever been filed against Isaac Sanders.

198. The continued public perception from the conduct of the
Defendants in contacting all possible law enforcement agencies, state and
federal, was that Isaac Sanders was “guilty” of sexual assault on students
and theft.

STIGMA PLUS
February 2009
Reputational Harm
Litigation Against Isaac Sanders and Stand Alone Defense

199. In addition to the allegations made against Isaac Sanders and

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vigorously defended by him, Sanders was subject to a civil rights suit
removed to the United States District Court for the Middle District of
Pennsylvania.

200. The lawsuit filed by six students of the University was initially
filed in February of 2009 in the Court of Common Pleas of Monroe County
Pennsylvania and removed to the United States District Court for the Middle
District of Pennsylvania on March 20, 2009 (No. 3:09-cv-525).

201. From the date of removal and docketing on March 20, 2009 to
the date of the Jury’s Verdict on October 31, 2014, two hundred and eleven
docket entries were lodged over a period of five years and seven months.

202. On each day and with each filing, the defendants failed to afford
Isaac Sanders either a defense or an agreement to indemnify him to which
he was entitled to under state law and this constituted a continuing violation.

203. The continued public perception from the lawsuit and the fact
Commonwealth was not defending Isaac Sanders in the District Court
proceedings was that Isaac Sanders was “guilty” or “responsible” of sexual
assault on students and theft.

204. Isaac Sanders had an unquestionable constitutionally
protected liberty interested in his reputation.

205. The actions of all Defendants horribly stigmatized and impugned

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Isaac Sanders good name, reputation, honor, and integrity.

206. Isaac Sanders paid his own money to defend the civil rights
suit.

207. Isaac Sanders has never been provided notice and
opportunity to be heard against his accusers prior to the civil rights
litigation and he had never been provided, to date, a name-clearing
hearing.

208. Despite all named University officials being provided a defense
by the Office of Attorney General in the Middle District litigation and in light of
the fact that the allegations concerned conduct attributable to Dr. Sanders in
his position of employment with the University, it was unconscionable for the
Commonwealth of Pennsylvania not to provide Dr. Sanders a defense.

209. Pennsylvania law indicates, under the circumstances presented,
that Dr. Isaac Sanders should have been provided a defense and
indemnification in regard to the civil suit filed by the six former students in the
United States District Court for the Middle District of Pennsylvania.

210. The defendants continued to violate the due process rights of the
Plaintiff each and every day from the date of removal to the date of the
verdict.

211. The Pennsylvania Attorney General should have sought the

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assignment of conflicts counsel and provided Dr. Isaac Sanders a defense
from the outset of the civil rights litigation advanced against him in the United
States District Court for the Middle District of Pennsylvania.

212. Dr. Sanders retained a Stroudsburg Pennsylvania attorney to
counsel him at and subsequent to the time of his employment termination.

213. To date, the Defendants did nothing to comment, correct or clear
the stigmatizing impact this had on Isaac Sanders.

STIGMA PLUS
May 26, 2009
Reputational Harm

214. On May 26, 2009, the President of East Stroudsburg University,
despite absolutely no foundation or proof, beyond rumor and gossip, stated
that Isaac Sanders, who was accused of student sexual assault and theft,
did in fact act inappropriately (See Exhibit “A” attached hereto).

215. This afore-referenced statement of the University was made
despite all investigations clearing him of wrongdoing.

216. Isaac Sanders has a right, under Pennsylvania law, not to be
defamed. Statements that characterize one as a thief are capable of a
defamatory meaning as a matter of law. See Smith v. Wagner, 403 Pa.
Super. 316, 322 (Pa. Super Ct. 1991).

217. To date, the Defendants did nothing to comment, correct or clear

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the stigmatizing impact this had on Isaac Sanders.
STIGMA PLUS
May 31, 2009

Reputational Harm

218. On May 31, 2009, an Editorial in the Pocono Record advanced a
position that East Stroudsburg University had “failed badly” in keeping up
with its mission to upholding its values. The Office of the Governor of
Pennsylvania commented upon the deployment of a technical statute of
limitations defense in a Motion to Dismiss. A Spokesman from the
Governor’s Office commented several times that the Commonwealth is
not representing Isaac Sanders but only the other named defendants (See
Exhibit “B” attached).

219. The statement afore-referenced conveyed to all that Isaac
Sanders was guilty or responsible for the student assaults and theft he was
accused of.

220. Isaac Sanders has a right, under Pennsylvania law, not to be
defamed. Statements that characterize one as a thief are capable of a
defamatory meaning as a matter of law. See Smith v. Wagner, 403 Pa.
Super. 316, 322 (Pa. Super Ct. 1991).

221. To date, the Defendants did nothing to comment, correct or clear

the stigmatizing impact this had on Isaac Sanders.

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STIGMA PLUS
February 1, 2011
Reputational Harm and Property loss

222. Dr. Sanders paid a Stroudsburg attorney professional fees from
July 2008 through March 2009 in regard to the student litigation.

223. Dr. Isaac Sanders had to retain private counsel in March 28,
2011 to defend him in the civil rights claims advanced unsuccessfully by the
former students.

224. Isaac Sanders paid professional fees to retained counsel to
defend the civil rights claim in April 2011 and September 2014.

225. Isaac Sanders contractual relationship with counsel had an
“ascertainable monetary value.”

226. Isaac Sanders spent his own funds for travel, lodging, and costs _
related to defending the civil rights litigation unsuccessfully advanced by the
former students from 2010 to the October 31, 2014 Verdict.

227. The entitlement to a civil defense and indemnification of Isaac
Sanders was mandatory and not discretionary based on the allegation
contained in the civil rights suit advanced against ESU, Isaac Sanders, and
other University defendants.

228. The failure to provide a defense to Dr. Sanders sent a clear and

convincing message to all that the University and PASSHE found Dr.
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Sanders guilty of unspecified and unsupported allegations of inappropriate
student conduct and financial misdeeds without any opportunity for defense.

229. On November 20, 2011, an Opinion was published in the Pocono
Record comparing the conduct of Isaac Sanders to disgraced and convicted
child molestor, former Penn State Football Assistant Coach Jerry Sandusky.
This article represented the mindset of the East Stroudsburg area
community and was a continuing insult to the reputation of Dr. Sanders.
Justice demands he be afforded an opportunity to secure justice for the all
the wrongs done to him and outlined herein (See Exhibit “C” attached).

230. The continued public perception from the conduct of the
Defendants in not including Dr. Isaac Sanders as part of the defense
provided by the Office of the Pennsylvania Attorney General was that Isaac
Sanders was “guilty” of sexual assault on students and theft.

231. The failure to provide Dr. Sanders a defense by the Office of
Attorney General and the dissemination of parts of the PASSHE Report and
the sordid implications from it have ruined the well-earned academic
reputation and personal reputation of Dr. Sanders.

232. Isaac Sanders had to retain counsel on his own who provided
him a defense separate and apart from the well-funded, free and immunity

cloaked defendants who were part of the "University Defendants” in the

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complex and protracted civil rights claim.

233. The federal civil rights matter was commenced in February 2009
in the Court of Common Pleas of Monroe County Pennsylvania (No.
1336-CV-2009).

234. No efforts were made to promptly serve the Defendants with the
lawsuit. However, the Complaint was provided to the Pocono Record and the
allegations were promptly published.

235. The continued public perception from the conduct of the
Defendants following the press on the lawsuit was that Isaac Sanders was
“guilty” of sexual assault on students and theft.

236. Isaac Sanders consistently has denied any inappropriate
behavior or conduct in regard to these students and he vigorously defended
the lawsuit.

237. The civil rights matter filed in Monroe County Court of Common
Pleas was removed to the United States District Court for the Middle District
of Pennsylvania on March 20, 2009 (No. 09-Cv-0525).

238. From March 20, 2009 to October 31, 2014, the date of the verdict
in the civil rights matter, there were 209 docket entries.

239. The continued public perception from the conduct of the

Defendants in not providing Isaac Sanders a defense from the outset of the

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suit to the date of the verdict on October 31, 2014, was that Isaac Sanders
was “guilty” of sexual assault on students and theft.

240. Isaac Sanders, in addition to the legal fee obligations incurred,
faced paying a monetary judgment in the event he was found liable in the
civil rights suit which he defended vigorously.

241. During the federal litigation Sanders was forced to defend, due to
mounting debt from a failure to secure suitable employment, Isaac Sanders
was forced to file for bankruptcy protection in the United States Bankruptcy
Court for the Middle District of Pennsylvania on August 20, 2009.

242. The civil rights litigation was stayed pursuant to the provisions of
the bankruptcy code and an Order staying the litigation entered October 26,
2009.

243. The bankruptcy stay was lifted by Order of April 16, 2010.

244. To date, the Defendants did nothing to comment, correct or clear
the stigmatizing impact this had on Isaac Sanders.

STIGMA PLUS
June 2013
Reputational Harm

245. In June 2013, the Pocono Record ran a story that publically

revealed the favorable employee reviews of Isaac Sanders and his financial

information in terms of a raise in relationship to him being placed on leave

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regarding sexual harassment of students (See Exhibit “D” attached).

246. Dr. Sanders possessed a privacy right in his employment file and
the disclosure of same violated said right.

247. The Commonwealth Defendants were dismissed following a
Motion for Summary Judgment filed by the Pennsylvania Attorney General’s
Office.

248. The continued public perception from the conduct of the
Defendants in not providing Isaac Sanders a defense or seeking his
dismissal with the same vigor utilized with other University Defendants was
that Isaac Sanders was “guilty” of sexual assault on students and theft.

249. To date, the Defendants did nothing to comment, correct or clear
the stigmatizing impact this had on Isaac Sanders.

STIGMA PLUS
June 2013

Reputational Harm
250. In June 2013, the Pocono Record asked readers in the East
Stroudsburg area to help view online thousands of pages following a
favorable ruling by the Pennsylvania Supreme Court for the Pocono Record
The theme in June 2013 was that the “ESU Foundation records may hold

clues to Sanders scandal” (See Exhibit “E” attached).

251. Readers of the Pocono Record were encouraged to go online to

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look for evidence that Isaac Sanders traded ESU scholarships for sexual
favors and money.

252. East Stroudsburg University or PASSHE never publicly
defended Isaac Sanders and denied these defamatory assertions.

253. This was another personal attack against Isaac Sanders
portraying him as a sexual predator and thief. This was a continued
stigmatization of Sanders by the University and PASSHE.

254. To date, the Defendants did nothing to comment, correct or clear
the stigmatizing impact this had on Isaac Sanders.

STIGMA PLUS
July 1, 2013
Reputational Harm

295. On July 1, 2013, the deposition of University President Robert
Dillman’s deposition was made public and available to the Pocono Record
(See Exhibit “F” attached). Isaac Sanders was viewed by President Dillman
who was questioned at deposition on letters that implied Isaac Sanders
engaged in gay relationships. Dillman, on the advice of PASSHE counsel,
shared the letters with Isaac Sanders who has steadfastly denied any
inappropriate, illegal, unethical, criminal conduct or gay relationships
attributable to him.

256. To date, the Defendants did nothing to comment, correct or clear

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the stigmatizing impact this had on Isaac Sanders.
STIGMA PLUS
July 8, 2013
Reputational Harm
Sanders as a Thief and Allegation of Missing Funds from ESU
Foundation

257. On July 8, 2013, documents were filed with this Court that
personally attacked the management style of Isaac Sanders in the
University’s Advancement Office yet intimated he was responsible for theft of
services (See Exhibit “G” attached).

258. Isaac Sanders has a right, under Pennsylvania law, not to be
defamed. Statements that characterize one as a thief are capable of a
defamatory meaning as a matter of law. See Smith v. Wagner, 403 Pa.
Super. 316, 322 (Pa. Super Ct. 1991).

259. To date, the Defendants did nothing to comment, correct or clear

the stigmatizing impact this had on Isaac Sanders.

STIGMA PLUS
July 29, 2013
Reputational Harm
Sanders as a Thief and Allegation of Missing Funds from ESU
Foundation

260. On July 29, 2013, The Pocono Record ran a story that

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$250,000.00 was missing from the ESU Foundation at a time when Isaac
Sanders headed that arm of East Stroudsburg University as its Executive
Director (See Exhibit “H” attached).

261. The University, PASSHE or the ESU Foundation never
commented publically that these allegations were incorrect. This is
especially pronounced when annual audits and a specially requested
forensic audit for the ESU Foundation found no money missing, stolen or
unaccounted for.

262. Isaac Sanders has a right, under Pennsylvania law, not to be
defamed. Statements that characterize one as a thief are capable of a
defamatory meaning as a matter of law. See Smith v. Wagner, 403 Pa.
Super. 316, 322 (Pa. Super Ct. 1991).

263. To date, the Defendants did nothing to comment, correct or clear
the stigmatizing impact this had on Isaac Sanders.

STIGMA PLUS
September 25, 2013
Reputational Harm
264. On September 25, 2013, an Editorial in the Pocono Record
implied that Isaac Sanders took money during his tenure as the ESU

Foundation Executive Director and it was related to sexually predatory

conduct with students (See Exhibit “I” attached).

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265. This implication that Isaac Sanders was a thief was a repeated
theme ever since PASSHE and the University separated Sanders from
the University.

266. Isaac Sanders has a right, under Pennsylvania law, not to be
defamed. Statements that characterize one as a thief are capable of a
defamatory meaning as a matter of law. See Smith v. Wagner, 403 Pa.
Super. 316, 322 (Pa. Super Ct. 1991).

267. To date, the Defendants did nothing to comment, correct or
clear the stigmatizing impact this had on Isaac Sanders.

STIGMA PLUS
April 16, 2014
Reputational Harm

204. OnApril 16, 2014, this Court dismissed all claims in the
student's civil rights claim against ESU and President Dillman. The claims
against Isaac Sanders remained (See Exhibit “J” attached).

255. PASSHE commented that they were pleased with the ruling
that dismissed ESU and President Dillman. A PASSHE spokesman
commented: “My understanding is that the only thing that’s left are the
charges against Isaac Sanders himself (See Exhibit “JU” attached).

256. The statement that “charges” were either pending or remain

against Dr. Sanders was more insult against Dr. Sanders by PASSHE

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that inferred that criminal charges were pending or remain against Isaac
Sanders when none were ever filed. This was a further stigmatization
against the reputation of Isaac Sanders.
257. Isaac Sanders has a right to his reputation under
Pennsylvania law.
258. The Defendants did nothing to comment, correct or clear the
stigmatizing impact this had on Isaac Sanders.
EXONERATION OF ISAAC SANDERS
259. Following a lengthy jury trial, a verdict was entered in favor
of Isaac Sanders and against the Plaintiffs on October 31, 2014.
STIGMA PLUS
November 1, 2014
Reputational Harm
Sanders Never Provided a Defense in the Appeals following the
Favorable Verdict
260. Following the denial of post-trial relief sought by the Plaintiffs, an
Appeal was taken to the United States Court of Appeals for the Third Circuit.
261. On each day and with each filing, the defendants failed to afford
Isaac Sanders either a defense or an agreement to indemnify which he was
entitled to under state law and this constituted a continuing violation.

262. The continued public perception from the appeal and the fact

Commonwealth was not defending Isaac Sanders in the Third Circuit appeal

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was that Isaac Sanders was “guilty” of sexual assault on students and theft.

263. On September 21, 2017, the United States Court of Appeals for
the Third Circuit denied the Plaintiffs’ Appeal. A request for Re-Hearing En
Banc was also denied.

264. To date, the Defendants did nothing to comment, correct or clear
the stigmatizing impact this had on Isaac Sanders.

265. The events as detailed above, continuing as separate and
distinct stand-alone events by the affirmative acts of the defendants were the
proximate result of the conduct of the defendant.

266. These events, detailed above, are not the ill effects or hangover
from the termination of Isaac Sanders at the University but rather are new,
separated and distinct events based upon the affirmative conduct of the
events set forth in the preceding paragraphs.

STIGMA PLUS
September 22, 2017
Reputational Harm
Sanders Never Provided a Defense in the Appeals to United
States Supreme Court

267. Despite the fact that Dr. Sanders was cleared by a jury of his

peers in the United States District Court for the Middle District of

Pennsylvania, the investigation done by the Diversity Director at East

Stroudsburg University, two investigations conducted by the University, it

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was the conduct of the Defendants that has forever scarred the well-earned
reputation of Dr. Sanders and which has damaged him immensely.

268. Plaintiffs in the civil rights claim against Isaac Sanders appealed
the adverse Verdict to the United States Court of Appeals for the Third
Circuit.

269. The Third Circuit Court of Appeals affirmed the District Court in
an Opinion and Order issued on August 16, 2017.

270. The Plaintiff's in the civil rights claim against Isaac Sanders filed
a Petition for a Writ of Certiorari in the United States Supreme Court on
December 12, 2017.

271. On each day and with each filing in the federal appellate courts,
the defendants failed to afford Isaac Sanders either a defense or an
agreement to indemnify which he was entitled to under state law and this
constituted a continuing violation.

272. The Commonwealth of Pennsylvania through the Office of the
Attorney General represented all defendant/appellees in the United States
Supreme Court other than Dr. Isaac Sanders.

273. The continued public perception from the conduct of the
Defendants in not providing Dr. Sanders a defense in the United States

Supreme Court was that Isaac Sanders was “guilty” of sexual assault on

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students and theft.

274. On February 20, 2018, the United States Supreme Court denied
the Petition for a Writ of Certiorari.

275. To date, the Defendants did nothing to comment, correct or clear
the stigmatizing impact this had on Isaac Sanders at that time.

276. The events as detailed above, continuing as separate and
distinct stand-alone events by the affirmative acts of the defendants were the
proximate result of the conduct of the defendant.

277. These events, detailed above, are not the ill effects or hangover
from the termination of Isaac Sanders at the University but rather are new,
separated and distinct events based upon the affirmative conduct of the
events set forth in the preceding paragraphs.

17. Loss of Reputation and Job Opportunities

278. Isaac Sanders as a result of the allegations made against him
and confirmed by PASSHE and all Defendants has been fully exonerated.

279. Despite the exoneration in a court of law, Dr. Sanders has been
forever damaged by the allegations made against him.

280. On December 12, 2014 the Pennsylvania Attorney General on
behalf of the University Defendants and citizens of the Commonwealth of

Pennsylvania, filed a Bill of Costs against the unsuccessful plaintiffs in the

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United States District Court in the Middle District of Pennsylvania.

281. The Attorney General's Office files a Bill of Costs as a matter of
course or “standard procedure’ in all civil rights cases that it defends.

282. The events as detailed above, continuing as separate and
distinct stand-alone events by the affirmative acts of the defendants were the
proximate result of the conduct of the defendant.

283. These events, detailed above, are not the ill effects or hangover
from the termination of Isaac Sanders at the University but rather are new,
separated and distinct events based upon the affirmative conduct of the
events set forth in the preceding paragraphs.

STIGMA PLUS
July 25, 2018
Reputational Harm
Sanders Viewed as Sexual Predator by Pennsylvania Attorney General

284. The Pennsylvania Attorney General in 2018 issued an apology to
the unsuccessful plaintiffs who accused Dr. Sanders of sexual assault. The
import of this was that the Attorney General of Pennsylvania believed
Sanders guilty or responsible for sexual assault and that the Plaintiff were
therefore victims.

285. A nationally syndicated news article on this issue was titled

“Pennsylvania Apologizes to Accusers.”

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286. The import of this action by the Attorney for East Stroudsburg
and the University Defendants which resulted in a Motion to Vacate the
award of the Bill of Costs filed July 25, 2018 was another governmental
action designed solely to convey that Isaac Sanders was guilty of student
sexual assault.

287. The continued public perception from the comments of the
Pennsylvania Attorney General as well as the withdrawal of the Bill of Costs
was that Isaac Sanders was “guilty” of sexual assault on students.

288. The Defendants did nothing to comment, correct or clear the
stigmatizing impact this had on Isaac Sanders.

289. The allegations of the Plaintiff isaac Sanders set forth above
constitutes a continual series of unlawful acts by the Defendants which
horribly destroyed his reputation.

290. The Defendants have done nothing, to date, to attempt to
redress or abate the reputational harm inflicted on Isaac Sanders.

291. The harm to Plaintiff Isaac Sanders was gradual and occurred on
a repetitive and continuing basis from his last date of employment to present.

292. The Defendants cannot be afforded an open ended license to
continue to impugn the integrity and rights of Dr. Sanders which have never

been cleared or addressed to date.

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293. The actions of the Defendants have resulted in Dr. Sanders to be

continuously viewed as a sexual predator and thief.

| 294. The Defendants, at each stage, over the timeframe above,
engaged in conduct above-referenced independent and_ separate
consideration of the reputational treatment of Isaac Sanders.

295. The Defendants’ concerted conduct as to Isaac Sanders was
recently published on October 1, 2018 when Isaac Sanders was linked to
Pennsylvania’s clerical abuse scandal.

296. In August 2014 based on the conduct of the Defendants, Isaac
Sanders was linked in news reporting to Pennsylvania’s most heinous child
predator, former Penn State University Football Coach Jerry Sandusky.

297. When the appeal was filed by the unsuccessful plaintiffs to the
United States Court of Appeals for the Third Circuit, it generated press that
specifically indicated that Dr. Sanders was not represented by the
Pennsylvania Attorney General.

298. When the appeal was filed by the unsuccessful plaintiffs to the
United States Supreme Court, it generated press that specifically indicated
that Dr. Sanders was not represented by the Pennsylvania Attorney General.

299. Despite the jury in the United States District Court for the Middle

District of Pennsylvania clearing Dr. Isaac Sanders in a Verdict that issued

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on October 31, 2014, the unfounded allegations against Dr. Sanders solely
based upon the collective conduct of the Defendants resulted in a March
2016 Temple American Inns of Court seminar entitled “Sexual Misconduct
on Campus’ in which the litigation against Dr. Sanders was a primary focus.

300. It is asserted that each and every day that passed with the cloud
of guilt hanging over his head and confirmed by every action of the
Defendants in his employment context and with each day and docket
occurrence in the federal civil rights matter constituted a continuing wrong
which his cause of action continued to accrue on each day of the
Defendants’ conduct up to and including the date of the United States
Supreme Court’s denial of the Writ of Certiorari on February 20, 2018.

301. To date, the Defendants did nothing to comment, correct or clear
the stigmatizing impact this had on Isaac Sanders.

302. The events as detailed above, continuing as separate and
distinct stand-alone events by the affirmative acts of the defendants were the
proximate result of the conduct of the defendant.

303. These events, detailed above, are not the ill effects or hangover
from the termination of Isaac Sanders at the University but rather are new,
separated and distinct events based upon the affirmative conduct of the

events set forth in the preceding paragraphs.

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FIRST CAUSE OF ACTION
14° AMENDMENT STIGMA-PLUS CLAIM AGAINST ALL DEFENDANTS

304. Plaintiff incorporates paragraphs 1-303 above.

305. PASSHE and the named Defendants are a “person,” as that term
is used in the text of 42 U.S.C. § 1983.

306. Following the complaint made by a student at the University
against Isaac Sanders, the complaint process pursuant to University policy
was carried forth up to and including the time when President Dillman found
the allegations of the student to be unsubstantiated.

307. Rather than returning Isaac Sanders to his position within the
University community, Defendants Dillman and the University with the
direction of PASSHE chose to terminate Dr. Sanders thereby conveying to
all that he was responsible for the unsubstantiated accusations leveled
against him by the student.

308. To compound matters, PASSHE directed University counsel to
conduct an “investigation” beyond that conducted by the Diversity Director
and the sole purpose of this investigation was for purely public relations and
the termination of Dr. Isaac Sanders.

309. The University is responsible not only for the education of

post-high school students but is also responsible for the oversight of those

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students who live at the University and for the first time are away from their
parental homes.

310. The outright emasculation of Dr. Isaac Sanders’ personal and
professional reputation was done at the behest of Defendants and PASSHE
for public relations purposes and the termination of Dr. Sanders.

311. The second investigation concluded that no wrongdoing of any
nature by Dr. Sanders.

312. Not satisfied with the fact that Isaac Sanders was again
exonerated of any and all alleged misdeeds, Defendants and PASSHE
retained outside counsel to conduct yet a third investigation with the sole
purpose and intent of finding Dr. Sanders responsible by the rumor and
innuendo that had cast a pal over the entire University community in regard
to Isaac Sander’s personal and professional reputation.

313. The repeated references by the Defendants, including PASSHE
and its agents, that criminal conduct was turned over to the appropriate law
enforcement agencies conveyed, in no uncertain terms, that Dr. Sanders
who had been terminated from his position at the University, was in fact
somehow guilty of criminal conduct. No other reasonable and logical
conclusion could be deduced from the so called Sanders “investigation”.

314. All statements authored by Defendants, including PASSHE and

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its agents, that implicated Dr. Sanders in any inappropriate conduct were
factually inaccurate and wrong.

315. Defendants and PASSHE’s false statements conveyed by virtue
of the second and third investigation into alleged conduct of Isaac Sanders
that were published through the local and national media.

316. Defendants and PASSHE's false statements about Isaac
Sanders were intended to inflame the East Stroudsburg University
community and any potential jury pool against the Plaintiff and to
compromise the fairness of subsequent judicial proceedings.

317. Defendants and PASSHE’s actions evidenced a reckless and
callous disregard for, and deliberate indifference to, Plaintiff's constitutional
rights.

318. As a result of Defendants and PASSHE’s false public
statements, Plaintiff was deprived of his rights under the Fourth and
Fourteenth Amendments to the United States Constitution.

319. As adirect and foreseeable consequence of these deprivations,
Plaintiff has suffered economic loss, physical harm, emotional trauma, loss
of privacy, loss of employment and employment opportunities, and
irreparable harm to his reputation.

320. As a further consequence of these deprivations, Plaintiff was

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required to retain counsel to represent him in the legal proceedings pursued
against him, and incurred expenses associated with defending against the
unfounded proceedings initiated against him.

321. Plaintiff suffered a deprivation of his liberty interest in reputation.

322. The statements made by Defendants and PASSHE concerning
Isaac Sanders were made publicly and false.

323. The repeated separate and distinct reputational harm outlined
above constituted a continuing violation of stigma plus conduct attributable
to the defendants.

324. The factual allegations set forth in detail above with the
continuing violations as factually supported and alleged constitute the
continuing affirmative acts of the defendant.

325. The acts of discrimination by the defendant as detailed above
are not the ill effects of the termination of Isaac Sanders but rather separate
and distinct acts of the defendant.

326. The events as detailed above, continuing as separate and
distinct stand-alone events by the affirmative acts of the defendants were the
proximate result of the conduct of the defendant.

327. These events, detailed above, are not the ill effects or hangover

from the termination of Isaac Sanders at the University but rather are new,

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separated and distinct events based upon the affirmative conduct of the
events set forth in the preceding paragraphs.
SECOND CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS AGAINST ALL
DEFENDANTS

328. Plaintiff incorporate the allegations made in paragraphs 1-327
above.

329. Defendants’ actions in conducting a third investigation solely for
public relations purposes were calculated to shame, to humiliate, and to
produce public condemnation of the Plaintiff.

330. Defendants repeatedly allowed false, insulting, offensive, and
inflammatory statements about Plaintiff to shame, to humiliate, and to
produce public condemnation of the Plaintiff.

331. Defendants’ conduct had the direct and foreseeable
consequence of marking Plaintiff a child abuser and criminal in the minds of
thousands of people.

332. Defendants’ conduct had the further consequence of making
Plaintiff into a public pariah, subjecting him to extreme and sustained public
obloquy, causing him to endure threats, taunts, and insults, and subjecting

him to assaults by the local and national media.

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333. Despite Plaintiff's exoneration, Defendants’ conduct will continue
to have deleterious effects on Plaintiff, who will forever be associated with
the false allegations advanced by Defendants and repeatedly publicized.

334. As a result of Defendants’ intentional and outrageous conduct,
Plaintiff has suffered and continues to suffer from emotional and mental
conditions generally recognized and diagnosed by trained professionals.

335. As a direct and foreseeable consequence of those conditions,
Plaintiff has suffered, and continues to suffer, emotional, mental, and
physical harm.

THIRD CAUSE OF ACTION
DEFAMATION AGAINST ALL DEFENDATS

336. Paragraphs 1 through 335 inclusive are incorporated herein as
though more fully set forth at length.

337. Defendants, individual and through their agents, continuously
have spread false rumors that Isaac Sanders was guilty of student sexual
assault and theft.

338. Such rumors are false and defamatory.

339. Such defamatory communications harmed Dr. Sanders’

reputation and lowered him in the estimation of the community.

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340. As a result of such defamatory communication, Dr. Sanders has
suffered damages including but not limited to impairment of reputation in the
community, personal humiliation, and mental anguish and suffering.

FOURTH CAUSE OF ACTION

VIOLATION OF THE CIVIL RIGHTS ACT —- UNLAWFUL DISCHARGE
AND CLAIM OF REINSTATEMENT AGAINST PASSHE

341. Paragraphs 1 through 340 inclusive are incorporated herein as
though more fully set forth at length.

342. The unlawful discrimination hereinbefore stated constitutes a
unlawful discharge and a violation of the Civil Rights Act.

343. In light of the Defendants’ willful, knowing and _ intentional
discrimination against the Plaintiff, Plaintiff seeks reinstatement as set forth
below.

WHEREFORE, Plaintiff respectfully requests entry of the following
relief:

a. entry of a declaratory judgment that the Defendants and
PASSHE’s policies and practices complained of herein violate
the Plaintiff's rights protected under the Civil Rights Act;

b. entry of a preliminary and permanent injunction enjoining the
Defendant PASSHE, its officers, employees, agents, and all
persons acting in concert with the Defendant from violating the
provisions of the Civil Rights Act and directing the Defendant to
restore to the Plaintiff to his former position with all wages,

retirement benefits, and other employment benefits due since
the termination;

66

 
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C. entry of a money judgment, awarding Plaintiff damages
representing lost wages and all sums of money, including
retirement benefits and other employment benefits which would
have been earned but for the discrimination, together with
interest on said amounts against all Defendants except PASSHE

d. enter judgment in Plaintiffs favor and against all Defendants
except PASSHE in excess of Fifty Million Dollars.

e. grant the Plaintiff an order requiring reinstatement and to make
the Plaintiff whole by an appropriate back-pay award,
prejudgment interest, fringe benefits, and otherwise, for the
violations described above, and if reinstatement cannot be
accomplished, an award of front pay; |

f. an award to Plaintiff of cost of suit including reasonable
attorney's fees; and

g. an award to Plaintiff of such other and further relief as this Court
deems just and proper.

Respectfully submitted,
Dated: May 20, 2019 LAW OFFICE OF HARRY T. COLEMAN

By:__ /s/Harry T. Coleman
Harry T. Coleman, Esquire
Attorney ID.: 49137
41N. Main Street
3rd Floor, Suite 316
Carbondale, PA 18407
570-282-7440
Counsel for Plaintiff lsaac Sanders

 

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EXHIBIT A

 
ESU President Dillman'SSQGMn@itl StGvs Opdk2toARG.coMeGuMENt 3hhtipe-edvOPROLth coflage/ 4% f2008226/NEWS/902260328

1 of 2

POCONO RECORD

 

ESU President Dillman’s statement

Posted Feb 26, 2009 at 12:01 AM
Students have been asking for an official response to

allegations of a sex scandal and cover-up since the story
was published in the Pocono Record Feb. 13.

Students have been asking for an official response to allegations of a sex scandal

and cover-up since the story was published in the Pocono Record Feb. 13.

One current and five former students are suing ESU claiming former Vice
President Isaac Sanders pursued unwanted sex with them and school officials

covered up his alleged crimes.

A communication with students about the scandal was finally made in the form of

a letter, Tuesday:
To: The Students of East Stroudsburg University

From: Dr. Robert J. Dillman, President

Subject: Addressing Your Concerns

Many of you have expressed your concerns over the allegations made against a
former university vice president that are included in a lawsuit filed recently by
six current and former ESU students. Let me make it clear, incidents such as those

that have been alleged must never be tolerated on this or any college campus.

I understand your concerns and your need for answers in regard to these
accusations. Please know that, as much as I and others have wished to address
your concerns and answer the questions you have, it has not been possible to do
so because of the current litigation. It is essential that proper legal procedures be
carefully followed so that the university will have the full range of options

available for action once the investigation is concluded.

5/14/2019, 7:31 AM

 
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2 of 2

As president of ESU J want you all to know that your safety, your security and
the integrity and excellence of your education are essential. While I cannot
provide any more specific information right now, I promise to do so at the
appropriate time. If you have any other issues of concern, please feel free to
contact me through the office of university relations: e-mail address:

university.relations@po-box.esu.edu or call 422-3532.

 

Thank you.

5/14/2019, 7:31 AM

 
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EXHIBIT B
ESU's students deserve Gage GpirBucvpOKd4aseAROn Document Bhs:/Fited. Ob/20ALOrd. Bagetizi2/ 210908 1/NEWS04/9053 10327

1 of 2

POCONO RECORD

 

ESU’s students deserve better

Posted May 31, 2009 at 12:01 AM
East Stroudsburg University lives up to its mission of

educating students. But its leadership has failed badly in
another key component of its mission: upholding its
values. An ill-advised public silence persists involving
departed former chief fundraiser Isaac Sanders, accused
in civil lawsuits of sexually harassing and abusing six
students, along with an alleged coverup by top
administrators.

East Stroudsburg University lives up to its mission of educating students. But its
leadership has failed badly in another key component of its mission: upholding its
values. An ill-advised public silence persists involving departed former chief
fundraiser Isaac Sanders, accused in civil lawsuits of sexually harassing and

abusing six students, along with an alleged coverup by top administrators.

Recently the Pocono Record obtained in-house correspondence indicating that
ESU President Robert Dillman acknowledged that evidence confirmed Sanders’
wrongdoing as early as last fall. Sanders headed the ESU Foundation and
spearheaded fundraising for the $41 million new Science and Technology Center.

Sanders left ESU last October, but Dillman never publicly confirmed he was fired.

In an April memo to top aides and university trustees, however, Dillman wrote
that “Dr. Sanders was immediately removed from his role on campus upon the
receipt of corroborating information concerning the claims against him of
inappropriate conduct.” Verification of that inappropriate conduct, Dillman

added, “ultimately led to the severing of his relationship with the university.”

ESU’s mission statement includes an explicit “Values Statement” committing the

5/14/2019, 7:36 AM

 
ESU's students deserve Ciese GpireoryypOctda@eeAROm -Boaoument Bbs:/Prhed OS/2OKO d. Papeti718/290 1GB 1/NEWS04/ 905310327

university to “principles of intellectual integrity, freedom of expression, the fair
and equal treatment of all, good citizenship, environmental stewardship, and
accountability for our actions and the resources entrusted to us.” (Emphasis

added)

Surely students — their education and their personal welfare — are ESU’s biggest

responsibilities.

Yet over many months and through today, Dillman and other leaders failed to be
candid with those who were most directly affected by Sanders’ alleged actions: the

student victims, and other students who came under Sanders’ sphere.

And despite this “corroborating information” the university is attempting to have
the students’ suit dismissed on the basis of a statute of limitations. The state
Attorney General’s Office is representing Dillman, ESU, Provost Kenneth
Borland and Associate Vice President Victoria Sanders (no relation to Isaac

Sanders) in the dismissal filing.

Asked about the deployment of a technical defense, a spokesman from the
Governor’s Office only repeated several times that the Commonwealth is not

representing Isaac Sanders, but other “named defendants.”

Yes, sad to say, Monroe County’s state-run institution of higher learning and its
top officials are most interested in protecting themselves, and in that effort they
are aided and abetted by Pennsylvania’s highest law enforcement official in an

attempt to dump an abuse case based on a legal technicality.

ESU has enjoyed a fine reputation for many decades of educating students and
preparing young people to be tomorrow’s leaders. The Isaac Sanders episode and

continuing coverup are

poor lessons for today’s students.

2 of 2 5/14/2019, 7:36 AM

 
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EXHIBIT C

 
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POCONO RECORD

 

Echoes of PSU at ESU

Posted Nov 20, 2011 at 12:01 AM
The Penn State child molestation case resonates

uncomfortably here in the Poconos.

The Penn State child molestation case resonates uncomfortably here in the

Poconos.

Sandusky, for 32 years assistant to Penn State University’s revered football coach
Joe Paterno, is accused of being a serial molester of at-risk boys. In recent days as
revelations have exploded, PSU trustees fired university President Graham

Spanier and their beloved Paterno.

The allegations against Sandusky parallel charges former students and staff
members raised against one-time East Stroudsburg University top fundraiser
Isaac W. Sanders. The difference? The alleged victims’ ages. Sandusky allegedly
used his charity, The Second Mile, to create an undending stream of potential
child victims. Sanders’ accusers say he made friends with and mentored college-
age minority youths or young men, gave them scholarships and tuition assistance

or other gifts, often unasked for, then sexually assaulted them.

The parallels include what higher-ups did — or failed to do — when they heard

the accusations.

Spanier and Paterno lost their jobs because trustees believed they had not done

enough to stop Sandusky given allegations that went back many years.

In 2007, ESU trustees, within weeks after the first sexual harassment charges

were raised, gave Sanders a $10,000 bonus for successful fundraising, including
$9 million for the new Science and Technology building. In 2008, they paid out a
$140,000 settlement to a Sanders accuser and former colleague who resigned after

signing a nondisclosure agreement. That September they gave ESU President

5/14/2019, 7:47 AM
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Robert Dillman a vote of confidence and extended his contract. In October 2008,
ESU fired Sanders; in November, 2008 Monroe County District Attorney E.

David Christine said he was investigating the man.

By early 2009, a total of six plaintiffs filed a lawsuit depicting Sanders as a sexual
predator who tried to trade scholarships and campus jobs for physical intimacy
between 2003 and 2008. The suit also named as defendants Dillman, two other

top administrators and the trustees.

Sandusky now faces 40 criminal charges related to the allegations about his

assaults of young boys.

There’s never been a criminal charge against Sanders. The DA has not said

another word about the criminal investigation.

Both these cases are all about protecting the institution and the money. Paterno’s
winning record and reputation as a moral guidepost for his players built Penn
State’s football program into a multi-million-dollar enterprise. At ESU, accusers
believe Sanders’ prowess as a fundraiser prompted top ESU brass, including

Dillman, to turn a blind eye to the sexual assault charges.

It is outrageous that so many people failed to intervene with Sandusky or report

their suspicions or observations to police. Children’s lives were at stake.

It’s equally outrageous that ESU officials were so dismissive of early reports about

Sanders and that they have played coverup ever since.

If an ESU official indeed used his position of power over young men to sexually

assault them, when do they get justice?

2 of 2 5/14/2019, 7:47 AM

 
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EXHIBIT D

 
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POCONO RECORD

 

High praise preceded ESU exec’s dismissal

By CHRISTINA TATU
Posted Jun 24, 2013 at 12:01 AM
Updated Jul 30, 2013 at 5:41 PM

Isaac Sanders, once East Stroudsburg University’s chief
fundraiser, received a glowing employee review plus a
raise within a month of being placed on leave over
allegations that he sexually harassed several male
students.

Isaac Sanders, once East Stroudsburg University’s chief fundraiser, received a
glowing employee review plus a raise within a month of being placed on leave

over allegations that he sexually harassed several male students.

Recently filed court documents in a pending federal court case against Sanders
cast new light on developments leading up to and following his placement on

administrative leave over the allegations.

One week after placing Sanders on leave with pay on July 1, 2008, ESU’s then-
President Robert Dillman completed a six-page, satisfactory review of Sanders’

job performance, according to court files.

The review covers Sanders’ employment at the university from July 1, 2007, to
June 30, 2008, and was signed and dated by Dillman on July 8, 2008.

In August 2007, the first young man involved in the case against Sanders filed
sexual harassment charges, which were investigated by, and later dismissed, by

university officials.

Sanders, who was director of the East Stroudsburg University Foundation and
vice president for advancement at the time, was placed on administrative leave
after the Pocono Record reported several other students were making similar

allegations against him.

5/14/2019, 9:29 AM

 
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On Aug. 8, 2008, Dillman sent a letter to Sanders’ home notifying him he was
eligible for a raise and would receive a $6,800 increase to his $136,006 annual

base salary.

The raise was retroactive to July 1, 2008, the day Sanders was placed on

administrative leave.

Sanders was eventually fired on Oct. 22, 2008, after the completion of an outside

investigation.

Dillman, who did not immediately return a phone call Friday for comment, did
address the review and pay increase in a Dec. 21, 2011, deposition recently made

public in court filings.

He asserted it was up to PASSHE to determine which managers received raises,

but PASSHE officials last week said otherwise.
“I didn’t give him a merit increase,” Dillman said in his deposition.

“The PASSHE system gave him merit increases, correct, or the (PASSHE Board of
Governors)?” asked Albert Murray, the attorney representing the plaintiffs in the

case.

“He got pay raises like everybody else, but I never gave him a merit raise, per se,”

Dillman said.

Every few years, when the money is available, the PASSHE Board of Governor’s
adopts a policy setting aside a percentage of each university’s budget to be used
for merit raises, PASSHE Vice Chancellor for External Relations Karen Ball said

on Tuesday.

This policy ensures that nonunion employees receive raises, she said. But it is
officials from the individual universities who are responsible for completing
performance evaluations and determining which employees are eligible for a

raise,

“The employees all must receive completed performance evaluations, and based
on their rating in that evaluation, it tends to drive the scale of the percentage
(raise) the employee gets,” Ball said. “It goes back to the university to decide who

gets a raise.”

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In addition to the $6,800 raise Sanders received to his base salary in July 2008, he
was also awarded a $10,000 bonus from the board of directors of the foundation
in February 2007.

The “State System of Higher Education Management Performance Appraisal and
Development Form” is an employee evaluation undertaken every fiscal year,

according to court documents.

Each year, the employee being reviewed and their supervisor sit down to set out
various goals related to the employee’s job, Dillman said, according to court files.
Dillman was Sanders’ direct superior and therefore the supervisor who would

conduct the review and help Sanders choose his goals.

Sanders is scored in each category on a scale of 1-3, or “below expectations,” “at

or above expectations” and “significantly exceeds expectations.”

Dillman’s remarks in the review show just how important Sanders was to ESU’s

fundraising endeavors.

Sanders was successful in securing the “largest scholarship gift in history from an

ESU alumni, Betty Baltz,” for more than $1 million, Dillman said in the review.

Sanders also “secured the largest gift annuity in ESU history of $100,000,” and
surpassed that year’s Comprehensive Campaign goal of $3 million by $155,831.

Sanders repeatedly scored high marks throughout the review, which doesn’t make
any mention of the original sexual harassment charge filed against him in August
2007, or the administrative leave he was placed on just one week before the

review was signed and dated by Dillman.

“The evaluation was for the prior period. It was the beginning of an investigation

and that investigation certainly wouldn't have been done in a week,” Ball said.

Sanders is scored in areas including, “Health of the University,” “Job Specific

Performance Areas,” and “Teamwork and Collaboration.”

“The success of the advancement office in achieving and exceeding its financial
goals has been due to the leadership of Isaac Sanders,” Dillman wrote. “Isaac has
worked to improve diversity in his office and around the campus. He has been a

very important team player in the senior staff ”» . One caveat is the need for

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stable staffing and new hires that bring expertise to the organization.”

Dillman gave Sanders an overall performance rating of 2.8 out of 3.

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POCONO RECORD

 

Help Record search in Sanders case

Posted Jun 30, 2013 at 12:01 AM

The last thing East Stroudsburg University needed back
in 2007 was a claim that its chief fundraiser had sexually
harassed a male student. ESU was in the midst of a major
fund drive to pay for its new Science and Technology
Center. Yet more than one such unsavory charge
surfaced against then- Vice President for Advancement
and Executive Director of the East Stroudsburg
Foundation Isaac Sanders. Over time these and
allegations he had mishandled funds tarnished his
reputation and eventually, it seems, cost him his job.

The last thing East Stroudsburg University needed back in 2007 was a claim that
its chief fundraiser had sexually harassed a male student. ESU was in the midst of
a major fund drive to pay for its new Science and Technology Center. Yet more
than one such unsavory charge surfaced against then- Vice President for
Advancement and Executive Director of the East Stroudsburg Foundation Isaac
Sanders. Over time these and allegations he had mishandled funds tarnished his

reputation and eventually, it seems, cost him his job.

But the process took a long time. It involved anonymous letters, lawsuits,
colleague complaints, investigations and, irony of ironies, both a bonus and a

glowing employee review for Sanders shortly before he left ESU.

If it all sounds curious to you, that’s good. It sure did to the Pocono Record.
Lawsuits generally cause people to clam up, and ESU officials were no exception.
So in 2009 this newspaper filed formal requests under the Freedom of
Information Act for documents that would help shed light on the complicated

story. By this time it included claims that Sanders had tried to trade sexual favors

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from young men for ESU scholarships and other gifts. More questions surfaced
about whether he might have diverted donations that were given to scholarships
or the building fund to his own, personal purposes, and whether ESU’s popular

president at the time, Robert Dillman, knew but said nothing.

Sanders was fired from his job in October 2008 after an investigation by an
outside law firm. But it’s only now, almost five years later and thanks to a
favorable ruling from the state Supreme Court, that the Pocono Record has

obtained the documents it sought. All 13,889 pages of them.

That’s where your curiosity comes in. Our small staff needs help to comb through
the mountain of paper that chronicles a part of the story: letters, forms, research
and other papers relevant to six donors and others. What we're trying to find is
evidence of scholarship money ending up in other ESU Foundation accounts,
endowments diverted to other purposes, building campaign pledges versus what

actually got recorded as gifts.

So, the saga of sex and money continues. Interested? Read Dan Berrett’s story on
today’s Al and follow the link to the document cache on our website. If you find

anything of note, email us at poconorecordhelper@gmail.com citing the

 

document batch and page numbers.

Your tax dollars pay much of the salaries and other operational costs at ESU. You
deserve to know how its officials conducted their business, including how those
at the very top managed free will gifts designed to further the prospects of its

students.

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POCONO RECORD

 

Ex-ESU president sat on accusatory letters

By CHRISTINA TATU
Posted Jul 1, 2013 at 12:01 AM
Updated Jul 30, 2013 at 5:43 PM

Three anonymous letters surfaced alleging multiple cases
of sexual harassment against students at the hands of a top
university fundraiser, but East Stroudsburg University’s
then-president, Robert Dillman, never gave the letters to
ESU’s internal investigator.

Three anonymous letters surfaced alleging multiple cases of sexual harassment
against students at the hands of a top university fundraiser, but East Stroudsburg
University’s then-president, Robert Dillman, never gave the letters to ESU’s

internal investigator.

That revelation is contained in Dillman’s 275-page deposition transcript, recently

filed as an exhibit in a federal lawsuit that’s slated to come to trial in the fall.

Dillman details sharing the letters with a university attorney, his wife, Roseann,
and at least one of the letters with Isaac Sanders, then the vice president of

advancement and executive director of the nonprofit ESU Foundation.
The letters accused Sanders of unwanted sexual contact with students.

The letters were received in the fall of 2007, after the first complaint of sexual

harassment was filed with the university by a male student against Sanders.

Dillman did not have any contact with Arthur Breese, who was conducting the
internal investigation into that student's claims, between August 2007 and Dec.

10, 2007 — the time in which Breese was conducting his investigation.

When several more students came forward in June 2008, making similar

accusations, the university called in an outside law firm to investigate.

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In his deposition, Dillman said he did not believe the letters contained

information that would have benefited Breese’s investigation.

The letters also seemed to imply Sanders was involved in consensual gay sexual
relationships, Dillman said, and in his opinion, the letters seemed hateful toward

gays and minorities.

“So, in your mind, it was that since this person who was sending you this letter
alleged, based upon a conversation or knowledge of Sanders, that (the victims)
were 18-year-old adults having consensual gay relationships, that it was no big
deal,” asked Albert Murray, attorney for the plaintiffs, during Dillman’s

deposition.

“I have no way of knowing whether that — because having a gay relationship is

not against our policy at the university,” Dillman said.

“The second part is there was no indication of any information. This was, from
my perspective, gay bashing, quite frankly, and therefore, it led me to believe that
this individual was very angry at gays, and also, with the last paragraph (of the

second letter), angry at African- Americans.”
Murray asked if that was the reason Dillman did not give the letter to Breese.

“Yes, Because, really, this dealt with consensual relationships — gay bashing, in
my view — with no complaint, no names, no indications of the substance”»,”

Dillman said.
Dillman did not respond to a phone call seeking comment Thursday.

The first letter, addressed to Dillman and sent September 2007, focused on
Vincent Dent, then-director of major gifts at ESU.

Dent was hired by and worked directly with Sanders, and worked at the
university from March 2005 until January 2008.

The letter included a link to the website of Michigan’s Attorney Discipline Board,
outlining Dent's troubled legal background, which included having his law license
suspended three times for a total of five years in the late 1980s and early 1990s for
failing to refund unearned fees and for misappropriating a client's settlement

money.

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A second anonymous letter, addressed to Dillman in October 2007, alleged sexual

liaisons between Sanders and students.

A third letter, which arrived in November 2007, refers to the student who was
having his case investigated internally by then-ESU director of campus diversity

and mediation, Breese.

“As you now no doubt know, this young man was one of many. You can easily
find the others (another group on campus has identified four students so far),”

that letter said.

That letter was addressed to Dillman, the ESU Council of Trustees and Bill

Cramer, who had once served as chairman of the ESU Foundation.

Dillman said he didn’t recall holding an executive session with the Council of

Trustees to discuss the letters.

“I don’t remember doing that. I just don’t recall that at all, but I — it’s very vague,
so I don’t really have a memory of having an executive session on that issue,”

Dillman said in his deposition.

Just who did Dillman show the letters to?

Dillman did not show the letters to Breese, but handed them over to
Pennsylvania State System of Higher Education attorney Andy Lehman, who

represented the university.

Dillman also shared the letters with Victoria Sanders (no relation to Isaac
Sanders), who was the university's associate vice president for diversity and
equity, and who would have helped in sending the letters off to Lehman,

according to Dillman’s deposition.

As for his rationale behind sharing one of the letters with Sanders, “I felt he
should at least see some of the anonymous threats — not threats, but anonymous

comments being made about himself,” Dillman said.

Dillman discussed with the university’s legal team whether to show Sanders the
letter before discussing it with Sanders during one of the weekly meetings the

two men had in Sanders’ office.

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During the weekly meetings, Dillman said he and Sanders would discuss
fundraising activities. The deposition did not detail the conversation Dillman and

Sanders had about the letter.
Dillman also shared the letters with his wife.

“I think I showed her all the letters because I — I respect her opinion,” he said in
his deposition. “I was asking her to look at the letters from her perspective as a

woman.”

“And you chose not to have Arthur Breese look at this letter. You've testified to

that, correct?” Murray asked, referring to the second anonymous letter.

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“Absolutely”»>” Dillman said.

Breese, in previous interviews with the Pocono Record, has said his efforts to
investigate that first male student's claims were closely managed — and effectively

stymied — from above.

ESU administration took atypical steps to maintain the confidentiality of the

claims against Sanders, Breese has said.

That meant excluding Breese’s administrative staff from the investigative process
and barring Breese from interviewing others on campus because it would have

spread knowledge about the complaint.

PASSHE sometimes even dictated which questions Breese should ask during the

investigation, he said in a previous interview.

Dillman said he purposefully distanced himself from the internal investigation
being conducted by Breese because he had to act as the final arbiter, meaning
Dillman was to review Breese’s finished report and decide whether there was any

merit to the sexual harassment claims the first student filed against Sanders.

“Wasn't it important to you to know what was going on with regard to Isaac

Sanders?” Murray asked.
“Sure,” Dillman said.

“But you chose not to contact”»,” Murray says.

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“Because I was the final arbiter,” Dillman said.

“Correct, you were the final arbiter. Under what rule or procedure do you — are

you the final arbiter?”

“The (university's) harassment and discrimination policy. The way in which that
office runs, if it goes from — if the complaint is against a vice president then it’s

my responsibility,” Dillman said.

“If it’s anything beyond that or below that then it goes to the appropriate vice
president and, so in that case, I wanted to stay as far away from anything dealing

with the case until the report came in when it was finalized,” Dillman said.

“I knew nothing about the details of the investigation until I received it on Dec.
10, 2007. I never talked to Arthur Breese, I never talked to Vicky Sanders about
it. Consequently, this, in my opinion, was completely not a sexual harassment,
but it was a consensual relationship if you look at it as a gay relationship with no
ideals beyond that from a claimant with any of that. That's basically what I saw it

”

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POCONO RECORD

 

Email lists ESU employee complaints on Sanders

By CHRISTINA TATU
Posted Jul 8, 2013 at 12:01 AM
Updated Jul 30, 2013 at 5:42 PM

Complaints about East Stroudsburg University’s former
top fundraiser, Isaac Sanders, go back as far as 2004,
according to an email alleging Sanders intimidated his
employees and favored minority job applicants.

Complaints about East Stroudsburg University’s former top fundraiser, Isaac
Sanders, go back as far as 2004, according to an email alleging Sanders

intimidated his employees and favored minority job applicants.

The email, from Susan McGarry, ESU’s vice president for human resources at the
time, was sent to then-ESU President Robert Dillman; Julie Del Giorno, who was
Dillman’s executive assistant; and Victoria Sanders (no relation to Isaac Sanders),

who was the university's associate vice president for diversity and equity.

The Oct. 29, 2004, email is one of many documents recently filed as exhibits in a

federal lawsuit slated to come to trial in the fall.

“As per our conversation, following are some issues that have been brought to my
attention on more than one occasion from SEVERAL of Isaac’s staff regarding his

approach to the search process,” the email begins.

“I am extremely concerned about how he appears to be intimidating people to

make recommendations that might not be in the University’s best interest.”

In a list, numbered one through nine, McGarry goes on to outline the concerns

various employees had about Sanders.

The email does not specify which job search was being undertaken at the time.
However, Sanders hired Vincent Dent as director of major gifts at ESU in March
2005.

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Dent left the university in January 2008, after which it was revealed that during
his ESU tenure he charged an array of personal expenses to his university-issued

credit card, which was paid for with public funds.

The charges included a four-piece set of luggage, $280 for a suit and alterations,
as well as a silk tie, dry cleaning, eyeglasses, golf clubs, golf shirts, car washes,
shoes, a monthly E-Z pass fee, the registration fee for the access card to his gated
community and repeated car rentals for regional travel, including $1,500 as part

of a larger charge for a six-month rental.
The total for those charges topped $4,000.

In a previous interview with the Pocono Record, Dent had said he repaid all of

the expenses.
McGarry also did not immediately return a phone call or email for comment.
She stopped working at the university in 2006.

Dillman did not immediately return a phone call for comment. Dillman does

address the email in a recently released 275-page transcript of his deposition.

“As a result of this memo, did you or anybody from human resources interview
anyone in the office, the Advancement Office, concerning these complaints about
discrimination?” asked Albert Murray, attorney for the plaintiffs, during
Dillman’s Dec. 21, 2011, deposition.

“Not to my knowledge,” Dillman said.
“Did you look into this issue and start an investigation?” Murray asked.
“Well, I talked to Isaac Sanders about it, yes,” Dillman responded.

“Well, he denied that he was trying to do anything that would cast any aspersions
at one group versus another. I told him that he was — in my view he needed to
follow the procedures and that he was supposed to be open to get the best

candidate, I remember saying.”

“I never really heard much more about it after my conversation with him,”

Dillman said.

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“I trusted Susan’s memo from the standpoint I don’t think she would have just
been putting this together, but J also believe that I did talk to him about it, as I

recall, and that he understood what I was asking him to do,” Dillman said.

Dillman did not remember which three employees were terminated from

Sanders’ division.

“T wouldn't have known that anyway,” Dillman said when asked about the

terminated employees.

As for the hiring process in the advancement office where Sanders worked, there

was a certain protocol to follow, Dillman said in his deposition.

That involved setting up a hiring committee, which would have included a
chairperson, and people who represent “different elements that these individuals

would be working with,” Dillman said.

Often, there would be a member of human resources on the search committee, he

said.

Although a committee had been set up, it was up to Sanders to make the final

decision of whom to hire, Dillman said in the deposition.

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POCONO RECORD

 

ESU Foundation: Where did the $250G
contribution go?

By DAN BERRETT
Posted Jul 29, 2013 at 12:01 AM
Updated Jul 30, 2013 at 5:30 PM

In 2003, a local philanthropist gave $250,000 to East
Stroudsburg University to help the university realize a
dream: the Science and Technology Center, which

 

eventually opened five years later.

In 2003, a local philanthropist gave $250,000 to East Stroudsburg University to
help the university realize a dream: the Science and Technology Center, which

eventually opened five years later.

Isaac Sanders, who was then the vice president of university advancement and
executive director of the ESU Foundation, sent a letter to the donor

acknowledging the gift’s purpose.

But a gift receipt shows that the money went to another account: the foundation’s

general operating fund.

That raises questions about how the former fundraising chief managed donations

and whether shortcuts were taken to get the science center financed.

Sanders is accused in a federal lawsuit of using money and gifts to pave the way
for unwelcome sexual advances toward students. The suit, originally filed by six
current and former students, further alleges that other top administrators turned

a blind eye to Sanders’ behavior.

The allocation of the six-figure gift, which the foundation says was in keeping
with the donor’s desires, was revealed in a trove of documents that the
foundation released to the Pocono Record after a four-year, precedent-setting

court battle over public records.

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The Pocono Record last month posted 13,889 heavily redacted records that it

received, and sought readers’ help in wading through the documents.

Specifically, we're looking to see whether money donated for one purpose ended

up earmarked for another.
How does this matter? Isn't this just about obscure accounting practices?

A misdirection of funds could have violated the donor’s stated desire for where

the money should be earmarked.

Further, an artificially propped-up fund would give the illusion of a healthier
bottom line, which would please bond underwriters financing the building’s

construction, according to one expert.
For its part, ESUF maintains the money went to its intended purpose.

Redirecting capital campaign money toward general operating support can be an
acceptable practice as long as the donor agrees, said Lisa A. Myers, a certified
public accountant in Camp Hill who has audited nonprofits and governmental

agencies, and has conducted forensic investigations of financial fraud.

If the fundraising proposal for a building campaign contains language that allows
the organization receiving the gift to allocate part of a gift to pay for its

operations or to meet needs associated with the project, that’s OK, she said.
It is unclear whether the ESU Foundation proposals contained such a proviso.

A subsequent proposal to the same donor seeking more money for the building
makes no mention of using any money for the foundation’s operating costs,

according to public records.

The foundation’s president, Frank Falso, who took over for Sanders in 2010,
wrote in an email: “The referenced donation was received, deposited and applied

to the Science and Technology fund in accordance with the donor’s direction.”

He declined to specify whether this meant the records were in error, or if the

donor wanted his gift to go into the general operating fund.

Neither the donor’s lawyer, Marc Wolfe, nor Sanders’ lawyer, Harry Coleman,

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responded to requests for comment.
An application of restricted funds contributed to Sanders’ firing.

That gift, a $56,598 bequest from the estate of Doris Imbt, was misallocated,
according to the termination letter that Robert Dillman, who was then ESU’s

president, sent to Sanders.

The gift was supposed to be restricted, and used only for the class of 1938
scholarship fund.

It, too, wound up in the ESU Foundation’s general operating fund instead.

The foundation also could have conceivably asked the donor to remove any

restrictions on the money if it needed to do so.

Such a request could have been done verbally, said Myers, though it also would

have been a good idea to document the agreement.

A letter to the donor from Sanders in 2005, which was meant to independently
verify the purpose of the gift, also confirmed that the money was meant to be

restricted for the Science and Technology Center.

A third way to tell if the money was properly allocated would be to consult an
accountant’s records stating a professional opinion on the financial controls of

the organization.

Such an opinion appears in the management letter accompanying an

organization’s audit.

In 2009, accountants for the ESU Foundation, Concannon, Miller & Co., warned

of “material weaknesses” in the foundation’s financial controls.

Such a weakness is generally considered the most serious deficiency that an

accountant can identify.

It means that there is a “reasonable possibility” — or it is “probable” — that a false
statement in an organization’s finances will not be detected, according to the

standards of American Institute of Certified Public Accountants.

It is not clear how classifying the donation one way and applying it elsewhere, as

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the records may indicate, would have benefited the foundation or ESU.

One possibility, said Myers, is that a healthy balance in the general operating fund
would please the bond underwriters who were evaluating the Science and

Technology Center project.

The price tag on the project had increased in price around the time that donation
was made, and the foundation had just taken responsibility for paying the bulk of

debt service on the deal.

The names of donors are redacted in the documents, as ordered by the
Commonwealth Court, which ruled in the Pocono Record’s favor in its open

records case.

Still, the documents in which the possible discrepancy appears provide some

strong clues as to who the donor was: Lester Abeloff, who died July 16.

A research report outlining the donor’s potential giving capacity describes him as
a 1939 graduate of ESU, which Abeloff was.

It also identifies him as a donor to Temple Israel, Pocono Medical Center, the
YMCA, and the Salvation Army, many of which, he told the Pocono Record in
2008, were his top charities.

The profile of the donor also notes that the center for the performing arts is

named in his honor. ESU’s performing arts center is named after Abeloff.

The donor file includes the program for ESU’s winter commencement in
December 2004.

The name of the sole recipient of an honorary doctor of humane letters is

redacted. Abeloff received that degree during that ceremony.

Further, a 2010 letter from Falso refers to “Lester’s $500,000 pledge.”

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POCONO RECORD

 

Opinion

Sanders case may have ripple effects

Posted Sep 25, 2013 at 12:01 AM
Don't mess with people’s money.

Don't mess with people’s money.

That message forms the core of a complicated case involving East Stroudsburg

University’s former chief fundraiser, Isaac Sanders, who was fired in 2008 over a

scandal involving money and sex.

Sanders came to public attention only in 2007, when several former students
claimed in a lawsuit that he had propositioned them for sex, offering them cash

and gifts for their favors.

Yet complaints about Sanders’ job performance had swirled behind the scenes but
beyond the university long before the sex scandal broke. One document recently
uncovered in court filings show that local philanthropist Bill Cramer complained
in 2003 that Sanders had mishandled an endowed scholarship that Cramer had set
up in honor of his mother through the ESU Foundation. Cramer said part of the
principal of the endowment was used improperly to cover administrative costs.
Cramer replenished the gap in 2001, but had trouble from 2005 until after

Sanders was fired in obtaining regular reports on the fund’s status.

Sanders’ former assistant, Carolyn Bolt, complained to then-ESU President
Robert Dillman in 2007 about Sanders’ management of the money in a private,
charitable foundation that Sanders led. Bolt also complained the way Sanders and
another assistant, Charles Dent, handled ESU Foundation funds, and complained
about a hostile work environment. Bolt went on leave, then eventually left her

position after receiving a $140,000 settlement.

Dillman outlined in an October 2008 letter to Sanders reasons why he was being

fired. Dillman cited Sanders’ mishandling of a scholarship fund that ESU alumna

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Doris Imbt helped create in 1988. Sanders diverted a $56,698 check sent from
Imbt’s estate in 2007 to the ESU Foundation’s general fund. Dillman also chastised
Sanders in the termination letter for having used foundation funds to pay off a
student’s outstanding bill. The student whose bill Sanders paid was one of several

of the plaintiffs who accused Sanders of extracting sexual favors.

Money matters. It matters especially when people are donating it to an institution
and expecting it to be safeguarded and used properly for the designated purpose.
Substantive complaints reached Sanders, the university board and even the
president for several years before the sex scandal — itself still unresolved —
brought Sanders’ conduct into the public eye, and another year passed before

Sanders finally got the boot.

This newspaper continues exploring the myriad public documents it received and
will continue reporting on the Sanders saga. In a recent interview, Cramer, a
prominent lawyer and civic activist, asked a question that explains why that

research is still important even though Sanders is gone.

“If they were treating me this way,” Cramer said, “what were they doing to other

people?”
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EXHIBIT J

 
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POCONO RECORD

 

ESU cleared of Sanders sex suit

By CHRISTINA TATU
Posted Apr 16, 2014 at 12:01 AM
Updated Apr 16, 2014 at 4:00 PM

A federal judge has dismissed claims that East
Stroudsburg University and former top officials there
acted with “deliberate indifference” toward and conspired
to cover up sexual harassment claims made against
former top fundraiser Isaac Sanders.

A federal judge has dismissed claims that East Stroudsburg University and former
top officials there acted with “deliberate indifference” toward and conspired to
cover up sexual harassment claims made against former top fundraiser Isaac

Sanders.

Judge Robert Mariani dismissed those allegations against ESU, including former
President Robert Dillman; Kenneth Borland, the former provost and vice
president for academic affairs, and Victoria Sanders, the former associate vice
president for special projects and assistant to the president (no relation to Isaac

Sanders).

Prior to Monday’s ruling, counsel for the plaintiffs and defendants stipulated to

the dismissal without prejudice of the members of the ESU Council of Trustees.

The judge did, however, find enough evidence to move forward with allegations
that Isaac Sanders made inappropriate sexual advances toward students and acted

inappropriately in his role as a top university administrator.

The 2009 lawsuit alleges Sanders, the former vice president of advancement and
director of the ESU Foundation, provided gifts, scholarships and jobs in exchange

for unwanted attempts at sexual intimacy with male students.

The judge's ruling, filed Monday evening, says the allegations specifically against

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Sanders will move to trial, but no trial date was set.

“We are pleased with the ruling, which basically dismissed the claims against the
university and former President (Dillman),” said Pennsylvania State System of
Higher Education spokesman Kenn Marshall. “My understanding is the only

thing that’s left are the charges against Isaac Sanders himself.”
Dillman did not immediately return a phone call for comment Tuesday evening.

Albert Murray, an attorney for the plaintiffs, said he is exploring the possibility

of an appeal.
“What can I say? That’s how the judge ruled,” Murray said.
The lawsuit has two major components.

First, it addressed the sexual harassment claims of six current and former students

(three of which were dismissed due to the statute of limitations).
Those claims will be heard in court.

The second part alleged the university violated the rules of Title IX, or more
specifically, it challenged whether ESU officials acted appropriately in dealing

with the complaints against Sanders.

The lawsuit alleged ESU officials had knowledge of Sanders’ alleged sexual
improprieties prior to the first official complaint filed against him by one of the _

plaintiffs in 2007, but did nothing to stop it.

The suit also alleges ESU officials acted to cover up the allegations against Sanders
and impeded an internal investigation conducted by Arthur Breese, then the

director of diversity and campus mediation at ESU.

In order to proceed under Title IX, the plaintiffs must establish a case

demonstrating they were subject to a sexually hostile environment.

They must demonstrate an appropriate authority was notified of the harassment,
but the institution’s response to the misconduct or harassment amounted to

“deliberate indifference,” court documents say.

Mariani said university officials did react appropriately, however.

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They followed the “Notice of Non-discrimination handbook,” detailing the
necessary steps to be undertaken by the Office of Diversity and Equal

Opportunity when conducting an investigation, he ruled.

Mariani was also critical of the incidents and witness statements plaintiffs
submitted as evidence that university officials had prior knowledge of Sanders’
alleged misconduct. The evidence submitted was based on hearsay and not solid

witness accounts, he said.

 

The university defendants, when they were provided with actual notice of the
plaintiffs’ complaints, had a “virtually immediate response,” resulting in Sander’s
suspension from the university in July 2008 and termination in October 2008,

according to the judge’s ruling.

The judge ruled the plaintiffs’ allegations of repeated “groping, touching and
feeling” without consent, as well as repeatedly forcing “unwelcomed acts of oral

sex and other acts of a sexual nature,” are enough to move to trial.

Mariani dismissed allegations Sanders conspired with other university officials to

violate the rights of the plaintiffs and cover up the alleged sexual assaults,

“[ just got off the phone with Dr. Sanders. He’s waited a long time for his day in
court,” said Sanders’ attorney, Harry Coleman. “And to the extent that he’s finally
going to be able to vindicate his name and take on these allegations one-by-one,

he’s ready. He’s ready for his day in court.”

One of the questions is whether Sanders violated the plaintiffs’ constitutional

rights.

Sanders had previously argued complaints against him should be dropped because

they amounted to “purely private conduct” outside his scope as a public employee.

He also argued one of the plaintiff's allegations center upon off-campus conduct
that occurred at a time when the plaintiff was no longer working with Sanders.
Sanders first met all of the plaintiffs in his role as a university official, however,

Mariani wrote.
He called Sanders’ claim “frivolous.”

“As Vice President for Advancement at ESU, a public university, I. Sanders was

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clearly a state employee ”» all three men came in contact with I. Sanders on
campus, and solely by virtue of their status as students at ESU and I. Sanders’

position of authority at the University,” the judge wrote.

Sanders’ request also “purposely misrepresents or ignores the entirety” of one of

the plaintiff's allegations, the judge said.

“Therefore, there is sufficient material issues of fact for trial, in particular with
respect to whether I. Sanders engaged in sexual harassment, sexual assault and/or
other sexual misconduct against (the plaintiff) in 2004, 2005 and 2007, both on

and off the ESU campus,” court documents say.

“By virtue of his position, I. Sanders was able to misuse his authority in the course

of performing his duties. His actions do not constitute ‘purely private conduct.”

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

ISAAC W. SANDERS,
CIVIL COMPLAINT
Plaintiff,
NO. 3:18-CV-1423-RDM
V.
JURY TRIAL DEMANDED
PENNSYLVANIA’S STATE SYSTEM
OF HIGHER EDUCATION,

Defendant.

 

 

CERTIFICATE OF SERVICE
|, Harry T. Coleman, Esquire, counsel for Plaintiff, Isaac W. Sanders,
hereby certify that on this date, | caused to be served a true and correct copy
of the foregoing Second Amended Complaint via ECF upon the following:

Jessica S. Davis, Senior Deputy Attorney General

Alison Diebert, Deputy Attorney General

Office of Attorney General

15" Floor, Strawberry Square

Harrisburg, PA 17120

Counsel for Pennsylvania’s State System of Higher Education

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